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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

STEVEN JUDE, Plaintiff,

. VERIFIED
-against- COMPLAINT

KEVIN J. BROWN, DEPUTY SUPERINTENDENT OF JURY TRIAL DEMANDED
SECURITY AT WENDE; DANYELLE HODGES,
CORRECTIONAL CAPTAIN AT WENDE; Civ #
MARGARET STRIK, MENTAL HEALTH UNIT CHIEF
AT WENDE; DEANNA HUNT, RECREATIONAL
LEADER AT WENDE; KEVIN BARLOW,
CORRECTIONAL SERGEANT AT WENDE; STEVEN
KOSTYSZYN, CORRECTIONAL OFFICER AT
WENDE; CARMEN BURKHAURT, CORRECTIONAL
OFFICER AT WENDE; JOHN and JANE DOES, “1”
Through “5” individually (the names John and Jane Does
being fictitious, as the true names are presently unknown)

Defendants.

 

 

 

Plaintiff, STEVEN JUDE, acting pro-se as for a Verified Complaint respectfully set froth
and alleges upon information and belief:
PRELIMINARY STATEMENT
This is a civil rights action in which plaintiff, a legally blind (51) fifty-old year old man
currently entrusted to the care, custody and control of the New York State Department of
Corrections and Community supervision, “DOCCS”, seeks relief for the defendants violations,
under color of state law of rights, privileges, and immunities secured by 42 § 1983; The First, Fifth,
Eighth, and Fourteenth Amendments to the United States Constitution; and the Constitutional laws
of the State of New York, by defendants, individually, jointly and severely subjecting plaintiff to
inter alia, cruel and unusual punishment, deliberate indifference, failure to protect, wrongful
confinement, Negligence, Gross Negligence, Negligent and Intentional Infliction of emotional
distress causing substantial permanent physical and mental injuries.
PARTIES
2. Plaintiff STEVEN JUDE, is and was at all times relevant herein an adult citizen of
the United States of America and resident of the State of New York currently incarcerated at Wende

Correctional facility located at 3040 Wende Rd. P.O. Box 1187, Alden, New York 14004.
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3. Defendant Kevin J. Brown, is and was at all times relevant herein the duly appointed, qualified
acting Deputy Superintendent of Security at Wende, who participated in, had actual or constructive
knowledge of, and/or failed to protect plaintiff from a substantial risk of harm from known Security
Risk Group, “SRG” safety threat gang members with a propensity for violence. Defendant Brown was
charged with the formulation and implementation of directives, policies and procedures related to
Security at Wende and the protection and treatment of inmates by “DOCCS” custodial staff, housing,
classification, job and program assignments. Defendant Brown was responsible for the training,
supervision and discipline of Security custodial staff regarding issues of the proper protection of
inmates from abuse and/or mistreatment by staff and inmates alike, and responding to an assault being
committed on an inmate by an inmate and conducting investigations of allegations of abuse and/or
mistreatment and assault. Defendant Brown acquiesce in a pattern and practice of constitutional
violations against inmates and gross negligent supervision allowed, and even encouraged the illegal
misconduct as alleged herein, as Wende security custodial staff knew that they could act with impunity,
unlawfully file falsified fabricated disciplinary and incidents reports in violation of 18 U.S.C. § 1519,
and cover up their illegal wrongful acts by acting outside the scope of their duties, break policy and
procedure and there would be no kind substantiated investigation and/or repercussions. Defendant
Brown exhibited deliberate indifference to the rights of inmates by authorizing his staff to utilize
known “SRG” safety threat members as porters, and assisted in creating and/or increasing the danger
_ to plaintiff, failing to install video surveillance cameras on housing units/tiers, failing to exercise
reasonable and ordinary care to prevent violence between inmates, failing to have staff wear body
cameras, failing to prosecute inmates for assault on inmates, and failing to act on information
indicating unconstitutional acts were occurring, allowed the continuance of such a policy or custom
and failed to remedy the wrong after being informed. Defendant Browns duties were to be carried out
in a manner consistent with the legal mandates that govern the operation of “DOCCS” facilities,
including it policies, procedures and protocols, as well as with all relevant local, state, and federal
statues and regulations. Defendant Brown is being sued in his individual capacity and as a ““DOCCS”
employee. At all times mentioned Defendant Brown acted within the course and scope of his
employment and under color if law.

4. Defendant Danyelle Hodges, is and was at all times relevant herein the duly appointed,
qualified acting Correctional Captain at Wende, who participated in, had actual or constructive

knowledge of, and/or failed to protect plaintiff from a substantial risk of harm from known Security
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Risk Group, “SRG” safety threat gang members with a propensity for violence. Defendant Hodges was

charged with the formulation and implementation of directives, policies and procedures related to

Security at Wende and the protection and treatment of inmates by “DOCCS” custodial staff, housing,

classification, job and program assignments. Defendant Hodges was responsible for the training,

supervision and discipline of Security custodial staff regarding issues of the proper protection of
inmates from abuse and/or mistreatment by staff and inmates alike, and responding to an assault being

committed on an inmate by an inmate and conducting investigations of allegations of abuse and/or

mistreatment and assault. Defendant Hodges acquiesce in a pattern and practice of constitutional

violations against inmates and gross negligent supervision allowed, and even encouraged the illegal

misconduct as alleged herein, as Wende custodial staff knew that they could act with impunity,

unlawfully file falsified fabricated disciplinary and incident reports in violation of 18 U.S.C. § 1519,

and cover up their illegal wrongful acts by acting outside the scope of their duties, break policy and

procedure and there would be no kind substantiated investigation and/or repercussions. Defendant

Hodges exhibited deliberate indifference to the rights of inmates by authorizing her staff to utilize

“SRG” safety threat members as porters, failing to install video surveillance cameras on housing

units/tiers, failing to exercise reasonable and ordinary care to prevent violence between inmates, and

assisted in creating and/or increasing the danger to plaintiff, failing to prosecute inmates for assault on

inmates, failing to have staff wear body cameras and failing to act on information indicating
unconstitutional acts were occurring, allowed the continuance of such a policy or custom and failed to

remedy the wrong after being informed. Defendant Hodges duties were to be carried out in a manner °
consistent with the legal mandates that govern the operation of “DOCCS” facilities, including it

policies, procedures and protocols, as well as with all relevant local, state, and federal statues and

regulations. Defendant Hodges is being sued in her individual capacity and as a “DOCCS” employee.

At all times mentioned Defendant Hodges acted within the course and scope of her employment and

under color if law. .

5. Defendant Margaret Strik, is and was at all times relevant herein a Mental Health Unit Chief at

Wende for the Office of Mental Health, “OMH” who participated in, had actual or constructive

knowledge of, and/ or failed to act to protect plaintiff from abuse and/or a substantial risk of harm

from Known Security Risk Group, “SRG” safety threat gang members with a propensity for violence.

Defendant Strik was designated with supervisory responsibility of Mental Health staff at Wende and

the development of policies and procedures to provide reasonable safety and Mental Health care to
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inmates at Wende pursuant to the contract with “OMH” and “DOCCS” and the Eighth Amendment of
the United States constitution and other applicable laws and to conduct investigations of abuse and/or
mistreatment of inmates on the Mental Health case load, and ensuring that threats to a inmates health
or safety communicated to her is forwarded to the appropriate Security Staff at Wende for the
appropriate action. Defendant Stirk exhibited deliberate indifference to the rights of inmates by failing
to act on information that indicated unconstitutional acts were occurring, failing to investigate, and
assisted in creating and/or increasing the danger to plaintiff, allowed the continuance of such a policy
or custom and failed to remedy the wrong after being informed. Defendant Stirks duties were to be |
carried out in a manner consistent with the legal mandates that govern the operation of “DOCCS”
facilities and the Office of Mental Health and Mental Hygiene Law, “MHL”, including its policies,
procedures and protocols, as well as with all relevant local, state, and federal statutes and regulations.
Defendant Stirk is being sued in her individual capacity and as contracted personnel of “DOCCS”
through “OMH”. At all times mentioned herein Defendant Strik acted within the course and scope of
her employment and under color of law.

6. Defendant Deanna Hunt, is and was at all times relevant herein a recreation leader III at Wende,
who was designated to conduct a Superintendent Tier III Superintendents hearing for two falsified
fabricated disciplinary reports issued to plaintiff in retaliation for his protected speech and to cover-up
the illegal wrongful conduct and breach of duty by Defendants custodial staff, who failed to protect
plaintiff from a vicious brutal assault and permitted the assault to occur by “SRG” safety threat
members. Defendant Hunt was never properly trained to conduct Superintendents hearings and
violated clearly established constitutional Due process rights of the plaintiff which she knew or should
have known by refusing to entertain plaintiff objections and insisted on trying to cover for co-workers,
failed to allow plaintiff to introduce exculpatory evidence, and refused to hear or acknowledge that the
disciplinary proceedings was untimely, the requested extensions to start and end hearing was invalid
and plaintiff was never served with a misbehavior report prior to the commencement of the hearing in
accordance to 7 NYCRR 254, and that he was the victim of an assault and set up. Defendant Hunt
accepted without question the chorology of events set forth in the falsified fabricated reports i.e. that
plaintiff attacked inmate Montour and initiated and engaged in a mutual combat, although there was no
fight and plaintiff injuries and the evidence were consistent with being the victim of an assault, and not °
the assailant and failed to allow plaintiff to introduce recorded and documentary evidence and

prejudge plaintiff guilt. Defendant Hunt denied plaintiff to introduce exculpatory evidence of recorded
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calls made from his pin registry number phone list that were made during a time when plaintiff was
outside at the hospital which calls were made by one of the inmates who arranged the assault, which
recorded conversations was critical to the merits of plaintiffs defense that he never assaulted no one
and was instead set up and assaulted in retaliation for his protected speech, in which the inmate is
recorded stating “why the assault occurred on plaintiff and the defendant officers role” which evidence
challenged the officers rendition of falsified fabricated reports which deprived plaintiff of an full and
fair opportunity to litigate his claims. Defendant Hunt refused to-present asked questions from plaintiff
to witnesses, justified their actions and never issued plaintiff a rendered written disposition or witness
refusal forms and was sometimes hostile and bias towards plaintiff, and Defendant Hunts credibility
determination she made was between her co-workers and plaintiff a prisoner who she attempted to
slander, discredit and belittle as if he had an conspiracy theory of what occurred to him and prejudged
his guilt. Defendant Hunts duties were to be carried out in a manner consistent with the legal mandates
that govern tier IJI Superintendent Hearings in accordance to title 7 NYCRR 254, and “DOCCS”
facilities, including its policies, procedures and protocols, as well as with all relevant local, state, and
federal statutes and regulations. Defendant Hunt is being sued in her individual capacity and as an
employee of “DOCCS”. At all times mentioned Defendant Hunt acted within the course and scope of

her employment and under color of law.

7. Defendant Kevin Barlow, is and was at all times relevant herein a correctional Sergeant at
Wende, who participated in, had actual or constructive knowledge of and/or failed to act to protect
plaintiff from a substantial risk of harm from known Security Risk Group, “SRG” safety threat gang
members with a propensity for violence. Defendant Barlow was designated with the responsibility of
care, custody and control of inmates and first line supervision of custodial security staff at Wende.
Defendant Barlow was partly responsible for the attack and assault and battery on plaintiff and
conspired with Defendant subordinate officers in violating plaintiffs civil and constitutional rights and
file falsified fabricated reports in violation of 18 U.S.C. § 1519, Defendant Barlow authorized
custodial staff to recruit “SRG” safety threat gang members as porters and the corollary pattern and
practices of retaliation and illegal misconduct by custodial staff. Defendant Barlow’s acquiesce in a
pattern and practice of cover-ups of custodial staff misconduct he supervised and constitutional
violations against inmates and malfeasance and gross negligent supervision allowed, and even

encouraged the illegal unlawful conduct as alleged herein, as Wende staff knew that they could act
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with impunity and unlawfully file falsified fabricated reports and cover-up their wrongful conduct by
acting outside the scope of their duties, break policy and procedure and there would be no kind of
substantiated investigations and/or repercussions. Defendant Barlow exhibited deliberate indifference
to the rights of inmates by failing to adequately supervise custodial staff, authorizing custodial staff to
utilize “SRG” safety threat members as porters, assisted in creating and/or increasing the danger to
plaintiff, failing to exercise reasonable and ordinary care to prevent violence between inmates, failing
to prosecute inmates for assault on inmates, and failing to act on information indicating
unconstitutional acts were occurring, allowed the continuance of such a policy or custom and failed to ©
remedy the wrong after being informed. Defendant Barlow duties were to be carried out in a manner
consistent with the legal mandates that govern the operation of “DOCCS” facilities, including its
policies, procedures and protocols, as well as with all relevant local, state, and federal statutes and
regulations. Defendant Barlow is being sued on his individual capacity and as an employee of
“DOCCS”. At all times mentioned Defendant Barlow acted within the course and scope of his
employment and under color of law.
8. Defendants Steven Kostyszyn, Carmen Burkhart, Jane Doe is and was at all times relevant
herein correction officers employed by “DOCCS” at Wende, designated with the responsibility of
care, custody and control of inmates, and to protect the health and safety of inmates within his/her
charge. Defendant officers participated in, had actual and constructive knowledge of, and/or failed to
act to protect plaintiff from a substantial risk of harm from known Security Risk Group, “SRG” safety
‘threat members with a propensity for violence. Defendants malfeasance, and omissions, caused,
created and resulted in plaintiff being brutally assaulted, and observed it happening, and allowed it to
occur and failed to intervene and/or issue any verbal commands and/or activate their body alarms
preventing assistance in violation of “DOCCS” policy and procedure, and other applicable laws,
permitting plaintiff to be viciously and maliciously assaulted by his assailants who repeatedly struck
and beat plaintiff about the face, head and body rendering him unconscious. Defendants knew plaintiff
faced a substantial risk of harm from known “SRG” safety threat members from the Crips and
permitted them to lock out of their cells under the pretense of porters to assault plaintiff in retaliation
for his protected speech, placing these inmates in positions of ‘supervisory and/or disciplinary
authority over other inmates, and failed to exercise the adequate care to prevent that which was
reasonably foreseeable and that a reasonable prudent correction officer would have exercised in a

similar situation. Defendant officers acted outside the scope of their duties with their illegal
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misconduct and subjected plaintiff to cruel and unusual punishment by allowing him to be brutally
assaulted and failing to protect him during the assault and unlawfully falsifying disciplinary and
“incident reports in violation of 18 U.S.C. § 1519, in an effort to conceal their illegal misconduct, and
malfeasance, which resulted in plaintiff being confined to solitary confinement and suffering
intentional infliction of emotional distress and be denied the appropriate reasonable accommodations
for his disability, and robbed of all his personal property. Defendants knew that they could break
policy and procedure and file falsified fabricated reports and cover up their unlawful conduct and act
_with impunity and that there would be no real substantiated investigation and/or repercussions.
Defendant officers exhibited deliberate indifference to the rights of inmates by disregarding a risk to
inmates’ safety by allowing “SRG” members to lock out of their cell and function as porters and
assisted in creating and/or increasing the danger to plaintiff, failing to exercise reasonable and ordinary
care to prevent violence between inmates. Defendant’s duties were to be carried out in a manner
consistent with the legal mandates that govern the operation of “DOCCS” facilities, including its
policies, procedures and protocols, as well as with all relevant local, state, and federal statues and
regulations. At all times all Defendants are being sued in their individual capacities, and as “DOCCS”
employees. At all times mentioned Defendants acted within the course and scope of their employment
and under color of law.

9. Upon Information and belief, the individually name defendants John and Jane Does “1”
through “5”, the true names being fictitious was in some manner negligently and was proximately

responsible for events and happenings as alleged herein and for plaintiff injuries and damages.

10. That at all times hereinafter mentioned defendants were acting under color of state law and/or in
compliance with the official, rules, regulations, laws, statues, customs, usages and/or practices of the

State of New York and/or Department of Corrections and Community Supervision.

NOTICE OF CLAIM
11. Onor about January 19, 2021, within (90) days after the claim accured, plaintiff duly served by
certified mail return receipt a Notice of claim with the NYS Attorney General Letitia James setting

forth all facts and information required under General Municipal law 50-e.
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12. The State of New York has wholly refused to investigate and/or make an adjustment and/or
payment thereof and more than (30) days have elapsed since the presentation of the Notice of claim
#7011-0470-0002-6563-60006, certified mail return receipt.
13. Plaintiff has complied with all the laws, statutes and conditions precedent to the maintaining
the instant action.
. JURISIDICTION AND VENUE

14. Plaintiff institutes these proceedings pursuant to 42 U.S.C.A. §§§ 1983, 1985 and 1988 to
obtain compensatory and punitive damages as defendants conduct was egregious, outrageous and
committed with malice and oppression, and to obtain the cost of suit, including but limited to
reasonable attorney fees, and damages for the injuries suffered by Plaintiff and caused by
defendants violation of rights guaranteed by the First, Fifth, Eighth and Fourteenth Amendments to
the Constitution of the United States and by State and Federal law, and particularly 42 U.S.C.A
1983.
15. | Venue is properly laid in this District under 28 U.S. 1391(b)(2) this being the District in
which the claim arose.
16. Plaintiff claims for injunction relief are authorized by rule 65 of the Federal Rules of Civil
Procedure. .
17. This Court also has jurisdiction of this action under 28 U.S.C. 1331 and 1343(a)(3) and (a)(4)
this being an action seeking redress of violations of rights under the Amendments of the
Constitution of the United States and the State of New York.
18. | Upon information and belief “DOCCS” receives federal funding to operate its correctional
facilities, and Title II of the Americans with Disabilities act of 1990 and Rehabilitation Act of 1973,
section 504 Apply, This action arises and is brought pursuant to 42 § 1983 with pendant State law
Claims.
19. Supplemental Jurisdiction is conferred upon the Court over any and all State law claims that
are so related to the Federal that they form apart of the same case or nucleus of operative fact under
28 U.S.C. 1367 (a) and the “Supremacy Clause” See: Morris v. Eversley, 205 F. Supp. 2d 234;
Haywood v. Drown, 556 U.S. 729. Federal and State law together form one system of jurisprudence
which constitutes the law of the land and of the State, and this Court has jurisdiction over and for
Plaintiffs’ State law Claims.

TRIAL BY JURY
20. Plaintiff demands a trial by jury on each and every one of his claims as pled herein pursuant

to Fed. R. Civ P. 38(b).
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EXHAUSTION OF ADMINISTRATIVE REMEDIES
21. In accordance to 42 § U.S.C. 1997 (a) plaintiff has complied with the Exhaustion requirements
in which the I.G.R.C. Supervisor J. Krygier, at Wende and Director of “IGP” Shelly Mallozzi has put
up obstacles in an effort to hinder, frustrate and interfere with plaintiff access to the Courts and
thwarting plaintiff from fully and properly exhausting his administrative remedies in accordance to 7
NYCRR part 701 and DOCCS Directive 4040 and 4041, in addition CORC has failed to notify him by
date stamped notice stating when his code (49) grievances was received by CORC, however after
inquiring with J. Krygier at Wende, plaintiff grievances WDE-0604-20 was sent to CORC on 1/20/21,
WDE-0031-21, was sent 1/28/21 and WDE-0052-21 on 2/2/21/ CORC has thirty (30) calendar days
after receipt of the appeals to issue a final decision, and has failed to comply with the regulation,
policies and procedures, and/or rules set forth for DOCCS and its inmate grievance program, and
plaintiff has done everything the “DOOCS requires of him and assumes the administrative remedies
have been exhausted, is either not available and/or a different administrative remedy applies to his
situation and has no clue as to what he should do, which there is no “next step” and the grievance
procedures operates as a simple dead end, by the prison officials consistently, unwillingly unable to

provide any relief.

STATEMENT OF CLAIM ;
22. At all relevant times herein, defendants were “persons” for the purpose of 42 U.S.C. § 1983
and acted under color of law to deprive plaintiff of his constitutional and civil rights, as set forth more
fully below.
. FACTUAL ALLEGATIONS

23. Onor about 12/23/ 20 at approximately 12:45pm at Wende, D-Block 24 company a designated
housing unit/tier and “special unit” for vulnerable Sensorial Disable Legally Blind and Severely
Visually Impaired, “LB/SVI” inmates in the Sensorial Disable Program, “SDP” the person of plaintiff,
STEVEN JUDE was caused to negligently, carelessly and recklessly come into harmful contact with
the person of inmate Rudy Montour #12-A-3637 and John Roberts #08-A-3491.

24.  Onor about 12/23/20 and at all times afterwards, the acts of inmate Rudy Montour and John .

Roberts were intended to make violent contact with plaintiff Steven Jude.
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25. On or about 12/23/20 and at all relevant times afterwards, Defendant officers Kostyszyn,
Burkhart, Jane Doe and Sergeant Barlows malfeasance, and omissions, caused, created and resulted
in the actions by inmate Montour and Roberts, Known Security Risk Group, “SRG” safety threat
members from the Crips succeeding in making actual physical violent contact with the plaintiff
STEVEN JUDE.

26. On or about 12/23/20, Inmate Montour and Roberts, Known Dangerous “SRG” safety threat
members made violent physical contact with plaintiff STEVEN JUDE, a vulnerable legally blind,
multi-disable elderly inmate, by viciously and maliciously beating, stomping, and kicking him about
the head, face, and body, rendering him unconscious, causing sufficiently serious injuries which
required hospitalization.

27. | The above-mentioned battery was initiated by inmate Roberts and Montour and upon the
order and directions of Defendants Kostyszyn and Burkhart, in retaliation for plaintiff filing
grievances about the denial of reasonable accommodations and writing letters of complaints to
Defendants Strik, Mental Health Unit Chief, Deputy Superintendent Brown, and Superintendent
Eckert, about staff misconduct and fearing for his safety and abuse/mistreatment by a “SRG” safety
threat member Roberts and other Crips who assaulted plaintiff on the tier on or about 12/18/20,
amongst other egregious offenses.

28. | Inmate Montour and Roberts and Correction Officers Kostyszyn, Jane Doe and Burkhart,
and Sgt. Barlow, acted in concert and conspired before and after during the attack and the remaining
other reference agents and/or employees, acted intentionally to conceal the facts subsequent to the
gang assault, all of which were willful and in wonton disregard to the safety, well-being and legal
rights of the plaintiff, STEVEN JUDE, and to the further extent that these actions were intentional,
reflect that the defendants was grossly negligent with respect to its duties and obligations to plaintiff.
29. On or about 12/23/20, defendants, each and every of them combined to engage in a scheme
in furtherance of an attempt to cover-up the truth and secreted the scheme to inflict bodily harm
against, and/or injury on plaintiff, falsified reports indicating plaintiff had initiated and engaged in
mutual combat with inmate Montour in an feeble attempt to justify plaintiffs injuries, in addition, to
add insult to injury, alleged two weapons were found subsequently after the incident in plaintiffs
cell, to further obscure the facts and prevent plaintiff from pressing charges, in which defendant
Barlow adherently adopted without investigating, and/or reporting accurately, causing falsified
disciplinary charges to be lodged against plaintiff and unlawfully confined in solitary confinement

and have all of his property stolen and denied reasonable accommodations for his disability.

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30. Defendant Kostyszyn, Barlow and the remaining referenced agents and/or employee conduct
was willful, wanton, reckless, malicious and/or exhibited a gross indifference to, gross negligence and
with a callous disregard for human life, safety and rights of others, and more particularly, the rights,
life and safety of plaintiff STEVEN JUDE. —

31. At all times mentioned, the individually named defendants were charged with the duty to
protect the welfare and safety of plaintiff, who was entrusted to the care, custody and control of
“DOCCS” under the authority of law. .

32. At all times mentioned the individually named defendants and the remaining reference agents
and/or employees owed a duty to employ reasonable care and measures to protect plaintiff from
violence by other prisoners.

33. The Defendants and the remaining reference agents and/or employees individually breached
the above duties which were tantamount to gross and/or wanton negligence as more fully described
and set forth below.

34. Onor about 12/19/20 and 12/21/20 plaintiff as well as others similarly situated wrote letters to
Defendant Strik, Brown and Superintendent Eckert regarding an able-bodied “SRG” safety threat
Crips gang member, John Roberts threatening violence ‘against sensorial disable inmates, stealing
property, extorting and intimidating them with weapons and having committed an assault on plaintiff
on or about 12/18/20 which caused his noise to bleed amongst other egregious offenses in which
plaintiff opposed being oppressed and taken advantage of and/or abused.

35. Defendant Barlow authorized Defendant officers Kostyszyn, Burkhart and other security
custodial staff to allow Roberts to lock out of his cell and run around the block unsupervised and
function as “porter on 24 company, when he was not, who was a known confidential informant for
officers, who he acted as an “enforcer” for. .

36. A “porter” is a inmate assigned to perform various functions within the block‘ or specific
tier/housing unit unsupervised, including, among other things, cleaning, passing out water and food
trays and was also once referred to as an “Trusty” and therefore granted special privileges and perks
that other inmates were not afforded.

37. Inmates Montour and Roberts, Known Dangerous “SRG” safety threat members from the Crips
with a propensity for violence, should have been prohibited from locking on a housing unit and/or tier
designated for legally blind and severely visually impaired inmates and from being able to lock out of

their cells and function as porters due to their Security Risk Group classification and gang affiliation.

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38. On or about 12/23/20 at Approximately 10:30pm Defendant Barlow, the D-Block area
supervisor summoned plaintiff to the front of 24 company regarding complaints received by the Acting
Deputy Superintendent of Security Defendant Hodges which was sent by plaintiff and other inmates
concerning plaintiff safety being at risk from Security Risk Group safety threat gang members.

39. Defendant Barlow stated “Security” had received these letters alleging that plaintiff had hot
scolding liquid thrown in his face, a bucket of dirty bucket of mop water with urine and feces thrown
in his cell, and was punched in the noise on the company/tier causing his noise to bleed, which
allegedly the officers allowed to occur and failed to report due to it being an regular occurrence.

40. Defendant Barlow informed plaintiff that he could not careless if inmates killed each other as
long as his staff was not touched, which was his paramount concern, and advised plaintiff to either get
with the program, stop filing grievances and complaints or else he could easily find himself back on
keep lock or officers could find a weapon in his cell and returned to “SHU”.

41. Defendant Barlow advised plaintiff to ask his fellow convicts of what happens to inmates who
like to file grievances and complaints at Wende and attempted to discredit plaintiffs fear for his life
and safety by stating he did not believe that the problem plaintiff was well as others wrote about was
that serious, due to is being an regular occurrence at Wende.

42. Plaintiff being in a state of emotional duress, and feeling offended by Defendant Barlows
negative response, directly and indirectly threatening him with retaliation to secure his silence, and the
blatant disregard for his safety apprised defendant Barlow about his qualms with regards to having to
live under a very unsafe, extremely hostile environment on a disable housing unit in which his safety
and life would be further endangered if he or Roberts was not moved due to the serious conflict he was
having with Roberts.

43. Defendant Barlow advised plaintiff that he was unable to move anybody at that time due to D-
Block being on quarantine lock down due to over 60 or more inmates testing positive for Covid-19
within the Block, and told plaintiff to go lock back in, and that he would see what he could do after
consulting with Defendant Hodges the acting Deputy Superintendent of Security.

44. Defendant Barlow knew or should have known about the threat and risk of harm to Mr. Jude’s
safety, by the offenses that were already committed against him, which knowledge came from plaintiff
as well as other sources that plaintiff as well as others similarly situated suffered significant abuse,

physical as well as emotional injuries due to exposure to gang violence from Known “SRG” safety

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threat members on a Sensorial Disable Unit, “SDU which suppose to be relatively safe, and actively
disregarded that risk and immediately left the block.

45. | Defendant Barlow called defendant Burkhart the D-block Desk officer/Hall Captain about a
half hour later instructing him to have inmate Roberts cell searched, and locked in, declaring that
“Roberts could no longer lock out his cell and function as porter due to slips being dropped to the
administration regarding Roberts extorting, threatening and intimidating visually impaired inmates on

24 company”.

46. Defendant Burkhart conveyed defendant Barlows instructions to defendant Kostyszyn, in
which both defendants called inmate Roberts to the gate and communicated defendant Barlows
instructions, that he could no longer lock out his cell as porter per their area supervisor Barlow.

47. Defendant Kostyszyn told Roberts that he was instructed to also search his cell, which Roberts
protested, which defendant Kostyszyn declined to search, and instead told Roberts to take the sheets
off his bed and make it appeared to have been searched, and informed Roberts that he was aware of |
what transpired between him and plaintiff last week when we wasn’t there. |

48. Inmate Roberts pleaded with both defendants not to lock him in, as porter, stating he was the
best porter in the whole block, who waxed and buffed floors and even painted, and could the
defendants advocate on his behalf with defendant Barlow in regards to him not locking in as porter,
which both defendants agreed that they’ll do.

49. Inmate Roberts immediately proceeded down the tier/housing unit speaking in a loud voice to
plaintiffs’ neighbor and other inmates that the officers just informed him that he could no longer lock
out his cell and function as porter due to several inmates on the housing unit “dropping slips” on him
“snitching on him.”

50. Inmate Roberts stated officers said the slips stated he was acting like an “enforcer” for officers,
discipline inmates, and “monopolizing” the porter position, and taking advantage of weaker sensorial
disable and elderly inmates by extorting them, intimidating and stealing property and having
committed an assault against plaintiff the prior week on the company which went unreported.

51. Inmates Roberts, along with another able-bodied “SRG” safety threat member from the Crips
“Rudy Montour” who Roberts had Defendant Barlow and Hall captain Arthur Wall, jr. move from 23,
company to 24 company to be with him and have his back, approached another visually impaired

inmate retuning from the yard “Kasiem Williams’ in an aggressive menacing manner with closed fist.

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52. Inmate Roberts threaten Inmate Williams with bodily harm if he found out Williams was one
of the inmate responsible for dropping slips on him having him locked in as porter, and notified
Williams that he as well as officers were aware and was not pleased with Williams prior grievances in
regards to being assigned porter and not being permitted to work, and not receiving cleaning supplies
or water, and stated Defendant Kostyszyn said he would never be a porter. .

53. Inmate Roberts, irritated, agitated and upset at being told he could no longer lock out his cell
run around the block and function as porter begun pacing back and forth up and down the tier making
general threats towards any inmates responsible for dropping slips on him, which defendant Kostyszyn
could hear being within earshot.

54. After Defendant Barlow return back to the block, inmate Roberts after talking to Defendant
officers, came and informed inmates he entrusted Rudy Montour and Robert Moore his two Crips
affiliates and others, that defendants informed him that “plaintiff’ was one of the inmates responsible
for ‘dropping slips” on him, which plaintiff neighbor informed him of what Roberts told him.

55. “Snitching” was a serious offense in prison amongst inmates and especially gang members, in
which Defendant officers’ disclosure of information about “plaintiff being responsible for the slips
being dropped on inmate Roberts causing him to be locked in as porter,” caused Roberts to have it in
for plaintiff and harbor animosity towards him and disposed to seek revenge against him, which
Roberts tried to pay several inmates drugs and money in order to attack plaintiff so that he would be
moved and not Roberts, who would have to move not being Sensorial Disable, who wanted to remain
porter on the housing unit.

56. Defendant Officers disclosure of information to Roberts about plaintiff being responsible for the
slips being dropped on him, instigated the already grave contemptuous conflict brewing between
Roberts, a Dangerous able bodied “SRG” safety threat gang member serving life without parole, and
plaintiff a 50 year old vulnerable legally blind multi-disable inmate and subjected him to an imminent
threat of serious harm and contributed to him being subsequently brutally assault, which defendants
failed to act and/or protect plaintiff and attempted to suppress and cover up by knowingly and
intentionally unlawfully filing falsified fabricated disciplinary and incident reports.

57. Inmate Roberts announced to the inmates in their cells that “Inmates on their tier want to fuck
up my bid, by dropping slips on me, snitching on me, having me locked in as porter, I am in turn going

to fuck up your lives”, which defendant Kostyszyn could hear being within hearing distance.

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58. Inmate Roberts also Stated “Inmates thought they had it bad while he was out as porter, that all
he was going to do was have defendant Kostyszyn lock inmate “Rudy Montour” out his cell to
function as porter,” his Crips gang affiliate who Roberts had moved to 24 co. from 23 co. to be with
him, and that “nothing was going to change.” .
59. | Inmate Roberts Statement of him having inmate Montour locked out his cell to function as
porter and nothing was going to change implied that inmates on the company/housing unit. would
continue to be oppressed, as well as live in reasonable fear for their safety and property, in which
inmates were routinely subjected to threats of violence, extortion, thief, assaults, intimidation and an
invasion of privacy when inmate Roberts was permitted to lock out of his cell and function as porter
on the Sensorial Disable Unit, “SDU.” , when he was actually assigned a yard porter job by the
program committee.

60. Defendants Brown, Hodges and Barlow knew, was aware of and/or should have known that
mixing “SRG” safety threat members with inmates who were not aligned with a gang and permitting
them to lock out of their cells and function as porters caused “insurmountable” problems at Wende, |
including but not limited to fights, slashes, stabbings, gang wars, friction and violence throughout the
prison an disregarded this risk by allowing them to continue to function as porters, and even be
assigned porter programs through the program committee.

61. Defendants Brown, Hodges, Barlow, Kostyszyn and Burkhart were aware, knew or should
have known that inmate Roberts and Montour, were Dangerous “SRG” safety threat members from the
Crips, and that an affront and/or problem with a fellow gang member will serve as an adequate
motivation for other Crips members such as Robert Moore, and/or Rudy Montour to assist Roberts in
an offensive violation and/or assault upon plaintiff a person he barely knew and/or never spoken to,
which is the nature of a violent gang such as the Crips and their alliance and loyalty to each other.

62. Defendants Kostyszyn, Burkhart, Jane Doe and other custodial correctional security staff
regularly recruited inmates who were “SRG” safety threat gang members as porters to help control and
regulate inmates locking on their tier/housing unit to intimidate, keep order, and utilize as enforcers,
who dictated what inmates to let out of their cell for the phone, kiosk, shower, amongst other
privileges, which the inmate porter gang affiliates received premier preference while non-gang
members not aligned with a gang got taken advantage of and left out. .
63. Defendants Kostyszyn, Burkhart and other security custodial staff at Wende were aware and

knew and permitted these “SRG” safety threat members they had recruited to steal from inmates,

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juggle commissary items 1 for 2, run around the block and have free reign and transport and move
contraband i.e. weapons, drugs, stolen property and kites directing illegal gang activity.

64. Defendant Kostyszyn, Burkhart and other security custodial staff at Wende permitted these
“SRG” members to punish and/or assault other inmates they disliked, and/or who liked to file
grievances and complaints about staff misconduct and/or inmate abuse in order to secure their silence,
which also served to insulate these officers from being accountable, and deter other inmates from

complaining and perpetuate abuse, and oppression by staff and inmates alike at Wende.

65. Defendant Kostyszyn upon doing his facility count stopped by inmate Rudy Montour cell and
asked him whether he wanted to lock out of his cell and be his porter, being as Roberts could no longer
function as porter, and recommended Defendant Kostyszyn use Inmate Montour to act in his place,
when their were other non-“SRG” inmates available to be porter and had been on the housing unit
longer as porter already with porter program assignments.

66. “SRG” is a term used to mean “Security Risk Gang” or “Security Risk Group”, which is a
group of inmates and/or detainees, designated by the Commissioner and Security possessing common
characteristics which serve to distinguish them from other inmates and/or detainees or group of
inmates or detainees which as a discrete entity poses a threat to the staff, the facility, other inmates,
detainees, or the Community, Furthermore, a Security Risk Group safety threat member is “an inmate
whose activity, behavior, status as an recognized Security Risk Group Jeopardizes the safety of the
public, staff or other inmates and/or the security and order of the facility.

67. Defendants Brown, Hodges, Barlow, Kostyszyn, Jane Doe and Burkhart and the remaining
agents and/or employees were aware and knew or should have known that both inmate Roberts and
Montour were Dangerous “SRG” safety threat members from the Crips gang, as their “SRG” status,
classification, pictures and gang affiliation is well documented with Security, Gang intelligence, in the
street and prison, and Central Office in Albany, when based on prior experience, they knew or in the
exercise of ordinary care should have known of the Security threat posed by allowing and permitting
them to be on the same tier and allowing them to lock out of their cells and function as porters and

knowingly and consciously disregarded a known risk to [Prison] safety.

68. All of the above referenced prison authorities Defendants, were aware, knew and/or should

have known, or had reason to know about the complaints of abuse and threats from plaintiff and others

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to prison administrators and supervisors regarding the altercation between Roberts and plaintiff and
consciously failed to act and/or investigate and disregarded a known risk to plaintiff as well as others
similarly situated health and safety.

69. All of the above referenced prison officials Defendants and/or authorities were aware, knew or
should have known or had reason to know of the animosity that existed between these “SRG” safety
threat members and plaintiff at least a week in advance and even earlier in the day by the slips that
were sent to defendants administrators and/or supervisors and Security acknowledging it, however
failed to take the appropriate measures to safe guard plaintiff from a foreseeable risk of safety and/or
harm.

70. Upon the count clearing Defendant Kostyszyn opened inmate Montour’s cell with the approval
of Defendant Barlow his area supervisor to serve the lunch trays, as the entire D-Block was on feed in
status due to over 60 or more inmates contracting Covid-19, with specific orders from the Executive
team administrations not to permit and/or allow more than one inmate outside of their cell at a time, to
prevent the spread of the deadly virus due to administrators failing to quarantine and/or isolate and
separate the positive cases, from the negative and instead leaving them amongst inmates not infected
in violation of policy and procedure and CDC recommendations.

71. After inmate Montour finished passing out the food trays, and instead of locking back in his
cell per policy and procedure, and facility administrators orders, Defendant Kostyszyn allowed him to
stay out his cell and linger on the tier appearing to talk to “7” cell inmate “Robert Moore”# 10-B-3464,
another known “SRG” safety threat member from the Crips.

72. Around 12:45pm Defendant Kostyszyn opened up plaintiffs’ cell in order for him to utilize the
phone and kiosk, which Defendant Kostyszyn stated he would due after the count cleared.

73. Plaintiff who is a “fall risk” utilizes a “blind mobility cane,” and travels with a inmate escort/
sighted guide to help him navigate, and wears a custom fitted knee to foot leg brace due to a drop foot
on his left leg came out of his cell with a sweat suit and slippers on. See: Lighthouse Exhibit of
plaintiffs’ visual acuity.

74. Plaintiff proceeded to the phone and while trying to reach his contacts, inmate Roberts whose cell
was right in front and/or across from the phone and next to the second shower called out to Defendant

Kostyszyn to let him out of his cell to shower and use the slop sink.

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75. Defendant Kostyszyn got up from the desk and opened up inmates Roberts’s cell, which
proceeded into the first shower area with a bucket, which had the slop sink and shower.

76. Inmate Rudy Montour stood by “7” cell appearing to talk to inmate “Robert Moore”, the
“SRG” safety threat Crips member, who Roberts paid three days prior to throw hot scolding liquid in
plaintiffs face, which Roberts paid Moore with “K-2, Synthetic Marijuana”, which inmate Roberts was
able to obtain such contraband from being permitted to lock out his cell from other inmates within the
block acting as porter, being permitted to have free reign within the block, and run around to different
tiers unsupervised.

77. Plaintiff being unable to reach any of his phone contacts tried utilizing the kiosk which
immediately locked him out due to hitting the wrong keys.

78. Plaintiff notified Defendant Kostyszyn that he was finished and locking back in, and turned around
and proceeded walking back to his cell.

79. Plaintiff reached around “6” six cell when he was suddenly blindsided, and struck in the head
from behind by inmate John Roberts, without provocation, who knocked plaintiff to the ground with
great force and violence, who held a metallic instrument in his hand, while plaintiff laid on the ground
defenseless, inmate Rudy Montour leaped from (7) cell and began to pouncing on plaintiff with hands
and feet, striking plaintiff about the head, face and body, causing plaintiff to have a reasonable fear
that would cause imminent peril and screamed out repeatedly for help.

80. Defendant Kostyszyn, and another unidentified Jane Doe female officer stood outside the gate,
and failed to act, and just idly stood standing there observing the vicious brutal attack and assault on
plaintiff. .

81. Plaintiff laid prone on his back being mercilessly, and brutally assaulted, “yelling for help,
screaming out in pain,” from the blows, and the Defendant officers stood outside the gate failing to
prevent the assault and/or protect plaintiff or issue any verbal warnings and/or activate their body
alarms indicting that an altercation and/or incident or fight had suddenly developed, preventing
assistance, which was contrary to DOCCS policy and procedure, which all officers do spontaneously
and without thought.

82. Inmate John Roberts, while stomping plaintiff to the ground begun yelling out Gay slurs,
calling plaintiff a “Rat Faggot Bastard,” while the defendant officers watched from behind the locked

gate and did not make any attempt to defuse and/or prevent the attack or even employ any verbal

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warnings allowing plaintiff to be viciously and maliciously assaulted by these younger aggressive
able-bodied dangerous Security Risk Group safety threat members from the Crips, which should have
been locked and secured in their cells, and not locked outside their cells and/or permitted to act as
porters.

83. Plaintiff was repeatedly struck, beaten, kicked about the head, face and body until he was
rendered unconscious, while defendants stood idly outside the gate observing without taking any steps
to protect plaintiff who lay prone on his back on the ground.

84. Plaintiff regained consciousness, and proceeded to get up off the floor, whereupon defendant
Kostyszyn opened the gate and entered, plaintiff picked up his blind mobility cane, and turned and
asked defendant Kostyszyn “Why he didn’t help him and/or activate his body alarm and received no
response.”

85. Plaintiff proceeded to walk back to his cell, with Defendant Kostyszyn following behind, once
plaintiff stepped inside his cell to grab a cloth to stop the blood profusely dripping from his left
eyebrow, Defendant Kostyszyn closed his gate locking plaintiff in after he was severely wounded.

86. Around 8 to 10 minutes later, Defendant Barlow appeared in front of plaintiffs’ cell laughing,
and stated plaintiff should have been bobbing and weaving, and begun taunting plaintiff by shadow
boxing until he seen the seriousness of plaintiff injuries. °

87. Defendant Barlow ordered plaintiff to’ get dress in order to take him to the Regional Medical
Unit, “RMU” and got a inmate escort/sighted guide Williams to assist plaintiff to the hospital, who on
the way informed plaintiff that inmate Roberts arranged for the assault to occur on him and to have
plaintiff family or lawyer get in contact with him to testify as a witness as he was expected to be
paroled in January to Buffalo.

88. As plaintiff was exiting the tier/company inmate John Roberts was on his gate laughing, and
blurted out “Yeah, I seen him attack inmate Montour,” who was locked in the first shower area with
the slop sink as Defendant Barlow escorted us off the unit.

89. Plaintiff seen a Nurse in the “RMU” who failed to physically examine him, or have him take
off his shirt to examine his body for injuries, and only cleaned an laceration over his left eyebrow, and
determined that plaintiff needed to be sent to an outside hospital due to suffering an concussion,
vomiting, feeling vertigo, and the extensive head and facial trauma he sustained. See: Exhibits

“ECMC” reports.

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90. Plaintiff was asked whether he wanted to write a statement, in which he replied “Yes”, while in
_defendant Barlow presence, which was subsequently after the assault and battery committed on him.
91. Plaintiff wrote “I was jumped and stabbed in the face by inmate Roberts and another “SRG”
Crips gang member due to C.O.’s telling Roberts I dropped slips on him and the C.O.’s set me up to be
attacked an assaulted and stood idly by and allowed to occur on a legally blind Sensorial Disable Unit,
SDU on 24 Co. and wrote on the top of the page. “I WANT TO PRESS CHARGES” See: Exhibit
Injury Report.

92. Plaintiff requested defendant Barlow take pictures of his injuries, which defendant was hesitant
to provide, until plaintiff insisted that pictures be taken in front of the “RMU” sergeant who stated “he
would do it,” only then did defendant Barlow state, “No I will do it,” and went and retrieved the
camera.

93. Defendant Barlow took two pictures of plaintiffs head and face, and refused to allow plaintiff
to take off his shirt and take pictures of the bruises and marks on his body which is usually done for a
fight investigation, or take pictures of plaintiff hands which plaintiff wanted to show the foot prints,
bruises and marks he sustained all around his body, and having no bruises and/or marks on his hands
which he would have if he had a fight.

94. At no time did defendant Barlow attempt to ask and/or question plaintiff or interview him in
regards to what occurred and/or happened that precipitated the event which resulted in his injuries
and/or what even occurred, which is also done in a fight investigation.

95. Plaintiff requested to be able to speak to Defendant Barlow alone, who dismissed the other
officer present and closed the medical treatment room door, in which plaintiff did not. want the other
officers present to hear what he had to state to Defendant and report back to Defendant officers in D-
block, thinking that could confide in Defendant Barlow as the area supervisor, and it being apparent to
plaintiff that those defendant officers had a standing agreement to effectuate the assault committed
upon him, by the chain of events described above thus far

96. Plaintiff specifically and thoroughly explained in detail to Defendant Barlow what transpired
since they spoke earlier, and/or that defendant Kostyszyn and Burkhart had set him up and arranged
for him to be attacked and viciously assaulted by these Dangerous “SRG” safety threat members and
failed to act to protect him while being assaulted and just allowed it to occur, and made no attempt

whatsoever to protect him

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97. Plaintiff explained how the defendants officers failed to issue and/or employ any verbal
warnings or utilize any means and/or procedures to prevent the attack and/or even activate their body
alarms which all three defendants wore, which is always routinely and instantly activated without
conscious thought or decision when a sudden violent incident develops or occur which would have
alerted staff to respond to. the incident which is “DOCCS” policy and procedure, whether it’s a fight or
not cause it could cause serious injuries or even possibly death, or weapons could come out.

98. Plaintiff explained to Defendant Barlow how the defendant officers had an unobstructive view
of plaintiff on the floor on his back screaming out in pain for help while being viciously assaulted,
which defendants clearly seen and heard plaintiff cries for help and/or assistance and how. they
allowed him to be beaten to the ground and informed defendant Barlow he wanted to write a statement
and press charges against his assailants and the defendants officers who told inmate John Roberts that
plaintiff had “dropped slips on him snitching on him, and arranged for him to be set up and assaulted.”
99. Defendant Barlow informed plaintiff that he could not write a statement, when in fact he could,
and instead told him that Defendant would write the statement for him, and stated he ordered
defendant officers he supervised to search inmate John Roberts cell, and ordered him locked in as
porter, and wanted to know how Montour and Roberts were outside their cells, when only one inmate
was suppose to be permitted outside their cell at a time due to the Covid- 19 quarantine lock down of
D-block, which was plaintiff.

100. Defendants Brown, Hodges, and Barlow created a policy and/or custom by which these
practices of recruiting “SRG” safety threat members as porters and delegating responsibility for
enforcing order to these “SRG” safety threat members, who was allowed to control housing units,
phones inside and outside the housing units, oppress, abuse and take advantage of neutral inmates not
aligned with a gang or in their particular gang.

101. Atall pertinent times, All Defendants were aware, knew or should have known “SRG” safety
threat members were attacking other inmates regularly, stealing property, controlling phones, juggling
commissary, intimidating inmates, moving contraband, and inmate-on-inmate violence and
victimization, however consciously and negligently disregarded this by failing to correct and/or report
accurately, investigate and/or respond to the victim, and took no preventive measures to prevent, and
‘therefore was deliberately indifferent to the rights of inmates.

102. an unsafe and dangerous living environment was permitted to fester on 24 company by placing

two or more “SRG” able-bodied dangerous safety threat members of a gang with a propensity for

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violence on a tier/housing unit designated for vulnerable LB/SVI inmates in the Sensorial Disable
Program, “SDP” subjecting them to conditions of confinement that pose an objective serious risk of
harm to their health and safety.
103. All defendants and “DOCCS” and their officers, agents, assistants and employees individually
and collectively were grossly negligent in:

(a) Allowing two or more able-bodied dangerous “SRG” safety threat gang members to lock on
a tier and/or housing unit that are designated for vulnerable visually impaired inmates in the “SDP”.

(b) Allowing inmates defendants were aware, knew or should have known were particularly
dangerous to lock out of their cells unsupervised and function as a porters on a housing unit and/or tier

with inmates susceptible to be taken advantage of and/or physically abused, and/or attacked by other

| prisoners, when based on prior experience they knew or in the exercise of ordinary care should have
known: (1) that these practices of permitting “SRG” members with a propensity for violence to lock
out of their cells and function as porters on a “Sensorial Disable Unit, “SDU” made it highly
foreseeable that some inmates, and in particular plaintiff would be abused, taken advantage of and/or
assaulted (2) that these practices posed a serious threat to some of the most vulnerable at risk group of
state inmates that is susceptible to physical to abuse, as these inmates need to trust and rely on porters
(3) that these practices pose a threat to the general safety and security of the-facility. See: PLS Memo
to Commissioner and Wende Administrators, about when “SRG” members were allowed to be blind
escorts/sighted guides and lock on sensorial disable unit.
104. In addition, all Defendants, and “DOCCS” and their agents and/or employees were grossly
negligent by: (1) being fully aware of a substantial risk of attacks and assaults being committed by
“SRG” safety threat members at Wende daily and was longstanding, pervasive, well-documented
and/or expressly noted by defendants, which it is a gladiator style on going war by “SRG” safety threat
members on each other and inmates in general.
(2) | Were aware, knew or should have known that gang members are often more violent, dangerous,
anarchic and manipulative than other inmates, and gang affiliation make them greater Security Risks,
which the facility log of unusual incidents of violence and disciplinary office logs the incidents of
violence committed by “SRG” safety threat members daily. .
105. “DOCS” security custodial staff, specifically at Attica and Wende Correctional facility permit
prisoners to punish other prisoners who are incarcerated for sexual offenses and/or who truthfully

complaint of misconduct, and abuses and/or known to file grievances and complaints, and target them

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for retaliation, set them up with false disciplinary misconduct, or weapons and assault of staff and/or
other conduct which is pattern and practice.
106. All Defendants, “DOCCS” and their agents and/or employees tolerance of abuse by security
custodial staff of inmates, and failure to adequate investigate, discipline and failure to prosecute
inmates who assault other inmates was a “substantial factor” in the continuation of violence by
inmates and abuses from staff, and these supervisory Defendants permitted, tolerated, and sanctioned
the persistent and widespread policy and practice of abuse and “code of blue” and inmate on inmate
assaults and violence by failing to prosecute and/or adequately investigate staff abuse and not wanting
to substantiate allegations from prisoners about staff malfeasance.
107. The failure of the Supervisory Defendants and other Defendants agents and/or employees of
“DOCCS” who are responsible for the security and safety of prisoners at Wende to place video
surveillance cameras that record on housing unit/tiers like Attica has and to have staff were body
cameras like so many other “DOCCS” correctional facilities have implemented for security reasons in
order to deter staff inflicting abuses upon inmates and to deter inmate-on-inmate violence and assaults
resulted in serious injuries to the plaintiff as well as others similarly situated, which security measures
at other facilities have reduced violence amongst inmates and staff abuses, which Wende has the
highest rate of staff retaliation, abuses and/or use of forces and inmate on inmate assaults by “SRG”
safety threat members to be a relatively small jail, with a smaller population than other facilities with
lesser violence and staff abuses.
108. All Supervisory defendants were grossly negligent which led to the assault and battery on
[Plaintiff] by failing to take the appropriate action when the letters were received by supervisors which
indicated the dangers plaintiff as well as others similarly situated faced by permitting known
Dangerous “SRG” safety threat members to lock out of their cells and function as porters on a “SDU”
unsupervised.
109. All Supervisor Defendants “gross negligence” led to the assault and battery on [Plaintiff]”
numerous.. security policies and procedures were disregarded and violated, and had defendant, Brown
and Hodges been properly supervising Defendant Barlow and Barlow been supervising D-block
security custodial staff, these events would have not transpired and plaintiff would have never been
injured.
110. All defendants were grossly negligent and was aware, knew and should have known that

“SRG” safety threat members posed a serious threat to visually impaired sensorial disable inmates at

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Wende going back as far as 2010, when they were permitted to function as blind escorts/sighted guides
and permitted to lock on the same housing unit/tier, with them which prisoners legal services reported
“SRG” members were intimidating, extorting, and stealing from them See: Exhibit attached.

111. All defendants individually and/or through their agents, servants and/or contractors created a
danger to plaintiff and/or that rendered plaintiff more vulnerable to the danger and directly participated
in failing to take appropriate measures to protect him and failed to remedy the wrongs when made
aware of it, and/or created a policy or custom which allowed the assault to occur and exhibited
deliberate indifference to plaintiffs health and safety, and failed to implement safe security policies
and procedures for the safe operation of Wende.

112. Erie Count Medical Center, “ECMC” documented the significant and extensive trauma to
plaintiffs face, head and body with contusions, calcifications and bruises all around and on the vortex
of plaintiffs head, edema, laceration, shoulder injury, arm and back, which injuries were consistent
with being the victim of a gang assault, and not from a altercation in which defendants alleged “only a
few punches were exchanged,” and “immediately stopped upon a direct order,” in their falsified
fabricated reports, in an effort to cover up their illegal misconduct and deliberate indifference to
plaintiffs health and safety and failure to protect and malfeasance for not intervening or activating their
body alarm preventing assistance.

113. Plaintiff was vomiting and suffered an concussion which was consistent and the result of
sustaining violent blows to the head, which caused a temporary lost of function, rendering plaintiff
unconscious, and lost total vision in his left eye, which plaintiff could not have sustained from a few
punches exchanged which is alleged to have ceased upon command in the fabricated reports, which is
defendants explanation and justification for not activating their body alarm preventing assistance in
violation of policy and procedure and other applicable laws. .

114. Due to the extensive trauma to plaintiff face, head and body from the brutal assault and battery,
while in the E.R. at “ECMC” he ran a temperature of 102, was placed on a I.V. drip of Morphine,
which the Doctor performing the surgery in the E.R. notified plaintiff that he could have possibly went
into a coma and/or died from the violent blows he sustained to the head at his age and was strong and
lucky to be alive, in which plaintiff found out that he had a fractured noise, which came from him
being assaulted the prior week by inmate Roberts when he was punched in the noise on or about

12/18/20., which he never had a noise injury.

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115. That by reason of the foregoing, the plaintiff, STEVEN JUDE, was severely injured and
damage, rendered sick, sore, lame and disable, sustained severe nervous shock and mental anguish,
great physical pain and emotional upset, some of which injuries are permanent in nature and duration,
and the plaintiff will be permanently caused to suffer pain, inconvenience and other effects of such
injuries; plaintiff incurred and in the future will necessarily incur further hospital and/or medical
expenses in an effort to be cured of said injuries; and plaintiff has suffered and in the future will
necessarily suffer additional loss of time and earnings from employment; and plaintiff will be unable
to pursue the usual duties with the same degree of efficiency as prior to the gross negligence and
deliberate indifference of the defendants, all to plaintiffs great damage.

116. Plaintiff returned from the Hospital to find out that Defendants Kostyszyn, and Barlow
knowingly and deliberately acted in concert and conspired to file falsified fabricated disciplinary and
' incident reports purportedly for misconduct that never occurred or happened in an effort to obscure
and conceal the true facts of what occurred to plaintiff and in furtherance of an retaliatory and
discriminatory conspiracy of violating plaintiff civil and constitutional rights and to be free from cruel
and unusual punishment, and to cover up their illegal misconduct, and malfeasance and prevent
plaintiff from exercising his first amendment right to redress the government and press charges.

117. “DOCCS”. and all supervisory defendants and/or agents and employees allowed, tolerated,
and/or encouraged security custodial staff to file falsified fabricated reports, make false statements
and/or attempt to bolster their stories and encourage a “code of silence” and not be held accountable
and/or responsible for their official misconduct, and malfeasance, which is pattern and practice for.

118 Defendants Kostyszyn filed two falsified fabricated disciplinary and incident reports against
plaintiff, one for fighting to obscure the facts and provide justification for plaintiffs injuries, and two a
weapons charge which defendant allege he found not one but two weapons in plaintiffs cell, which
another inmate notified plaintiff upon being release from “SHU that inmate John Roberts threw a
metal shank on top of plaintiff bed, right before defendant Kostyszyn allegedly searched, which
defendant claimed he found under plaintiff mattress.

119. Defendant Kostyszyn claimed he found a obsolete inefficient half of toothbrush in plaintiffs
locker, which is described in the report as melted to a point, however appeared to have been sharpened
with a blade or sharp object, in which nobody utilizes a sharpen toothbrush in prison for a weapon,

when inmates have access to metal and can tops to use as weapons and razors.

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120. Mysteriously the metal weapon alleged to have been found is the same weapon that inmate
- John Roberts possessed and utilized to intimidate inmates with, which was left to Roberts by a inmate
name Warren Davis #08-A-4535, who went on a draft to Woodburne correctional facility, and utilized
to set plaintiff up to have him removed from the sensorial disable housing and placed in the Special
Housing Unit, “SHU” so that Roberts and Montour could stay on the company acting as porter and
plaintiff removed.

121. If plaintiff would have had the knife type weapon that was allegedly found under his mattress
in his possession, he would have be able to utilized to defended himself and wouldn’t have had a need
for an ineffective half of toothbrush, which could not hurt or do any significant damage to nobody and
plaintiff could not even hold and/or utilize as a weapon being a half of toothbrush.

122. Defendant Kostyszyn claimed in another falsified fabricated report that he observed plaintiff a
(50) fifty year old legally blind, multi-disable fall risk prisoner who weighs about 165lbs navigates
with a blind mobility cane and sighted guide/escort when he travels due to loss of vision from
Glaucoma, “attack a (33) year old able-bodied aggressive, dangerous “SRG” inmate who was “6” foot
“3”, weight 230lbs with closed fist punches, which both Montour and Plaintiff allegedly exchanged
punches until defendant ‘gave a direct order to stop, and they complied,” which is the “reasons and
‘justification for defendant Kostyszyn not activating his body alarm indicating a altercation had
occurred and/or suddenly developed, which is policy and procedure.”

123. Defendant Kostyszyn charged plaintiff with 100.13, fighting, 104.13 violent conduct, and
104.13 creating a disturbance based allegedly on what defendant observed, which was made a serious
tier III offense, and based on information and belief, inmate Montour was written a tier II report and
made to appear as the victim who as attacked just defending himself from plaintiff.

124. Upon information and belief inmate Montour has been involved in several incidents of gang
violence while in “DOCCS’ custody and defendants knew or should have known plaintiff assailant
posed danger to other inmates, who was involved with a (11) man mini riot subsequently after the
incident with plaintiff with members of the “SRG” blood gang, in D-block and is facing a federal
sentence after completing his state sentence for a gang indictment in the Eastern District‘of New York.
125. Defendants Kostyszyn claimed he observed plaintiff attack inmate Montour, and was therefore
the aggressor, however Montour sustained no injuries whatsoever, did not seek medical attention and

plaintiff injuries were rather extensive and could not have occurred from a few punches exchanged,

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‘which immediately ceased upon a direct order, which injuries required hospitalization, in which
plaintiff wanted to press charges for.

126. Defendant Kostyszyn and Barlows falsified fabricated reports are incredible and implausible,
and outright lies, which plaintiff could not have possibly received the extensive injuries he sustained to
his head, face and body, as described from a few punches exchanged from one inmate, in which
plaintiff is also property of the federal government under law and want a federal investigation
implemented and charges filed if Defendants insist on lying and opposes this complaint, for unlawfully
filing fabricated governmental reports which is a crime and violating plaintiffs civil and constitutional
rights, see: . 18 U.S.C. § 1519. .

127. Defendant Barlow claims in his falsified fabricated fight investigation report that plaintiff
never told him what the incident was about which is absolutely false, and contradicted by the injury
report, and fight investigation which he states plaintiff stated inmate Montour attacked him coming
from the phone, plaintiff informed defendant Barlow exactly what occurred, how it occurred and who
was responsible, and all this was verbally conveyed, which defendant refused to allow plaintiff to
write a written statement.

128. The objective and thoroughness of defendant Barlows and/or any “DOCCS” employees and/or
agent or employees alleged investigation into plaintiffs filed grievances and/or complaints regarding
the issues described herein is flawed due to “DOCCS” employees failure to adequately investigate,
and/or report accurately and not providing any adverse information about a employee who they
insulate from any wrongful misconduct alleged by a prisoner, and practice the ‘code of silence” “us
against them” motto, which allegations made by a prisoner about staff malfeasance are never
substantiated, which is policy and practice.

129. In addition “DOCCS” supervisors being assigned to investigate officers whom they work and
supervise everyday, which would reflect badly on their supervision makes the whole investigation
process unreal and illogical, especially if the inmate wants to press charges as plaintiff wanted to in
this matter.

130. All correctional defendants continued to allow inmate John Roberts to lock out his cell and
function as porter after the assault on him, and allowed him to steal all plaintiffs personal property,
contact information, tablet and leave offensive e-mails to his contacts on J. Pay which he even left his
name and numbers of who left the message to plaintiffs daughter who he told in the e-mail that

plaintiff was in prison selling his body for drugs and was a homosexual amongst other disrespectful

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offensive messages, which was all done during a time plaintiff was outside at the hospital, and is °
recorded.

131. On or about 12/13/20 and the 24" Inmate Roberts and another inmate called plaintiff family
from his phone contact list with his phone pin registry number and told his family that plaintiff was at
the hospital and was assaulted because he was gay and he wrote letters of complaints on inmate
Roberts, which the defendant officers showed him the complaints and he recognized plaintiffs —
handwriting cause plaintiff done legal work for him, which conversation was recorded and plaintiff
FOIL.

132. Defendants continued to allow Inmate Roberts to lock out his cell and act as porter on 24
company who later got into a altercation with another severely visually impaired inmate Simpson, who
Roberts fabricated to officers that Simpson tried to stab him, when Roberts had the shank and dropped
it, which officers found and did not report and after the alteration defendants moved the severely
visually impaired inmate to another block and kept Roberts until the next day after Simpson started
complaining that he was legally blind, only then did they move Roberts out and Simpson back, in
which Roberts signed into protective custody due to the bloods and Crips gang wanting to do him
bodily harm from Roberts hiding out on the disable unit taking advantage of disable inmates.

133. Defendant Margaret Strik, failed to act and/or even investigate the complaints plaintiff mailed
her and asked her to forward copies to the superintendent and security about being abused, assaulted
and/or mistreated by Roberts and others, which her duty as the Mental Health Unit Chief was to
implement an investigate and protect plaintiffs health and safety as one of the inmates on the Mental
Health case load, which her deliberate indifference to plaintiffs health and safety caused, and resulted
in plaintiff being viciously and maliciously assaulted and set up on 12/23/20.

134. Defendant Deanna Hunt was assigned to hold a Tier III superintendents hearing on plaintiff for
two falsified fabricated reports and violated clearly established constitutional due process rights that a
reasonable pérson would have known, and defendant Hunt was never properly trained to conduct
and/or preside over a superintendents hearing, defendant Hunt knew or should have known plaintiff
was never served with the disciplinary report as per policy and procedure and NYCRR title 7, 254,
prior to the commencement of the hearing or he would have signed receipt of it and received an
enlarged copy and been provided with an assistant to assist him in defending the report.

135. Defendant Hunt knew or should have known that plaintiffs hearing was untimely and that the

requested extensions to start and finish the hearing was invalid and requested under false pretense, and

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violated clearly established due process rights, and defendant Hunt was hostile and bias and refused to
present questions plaintiff asked to witnesses, and failed to allow him to introduce exculpatory
evidence into the record which would have exonerated plaintiff and challenged the fabricated rendition

of the author of the reports, and prejudged plaintiffs guilt.

VIOALTIONS OF PLAINTIFFS CIVIL RIGHTS
(Against all Defendants)

136. Paragraphs 1 through 135 are incorporated as though fully set forth at length.
137. Acting under color of state law defendants were deliberately indifferent and grossly negligent
of their responsibility to plaintiff Steven Jude, while he was in their care, custody and control as
federal and state prisoner under the authority of law. This deliberate indifference and gross negligence
resulted in violations of the civil and statutory rights of Steven Jude that is guaranteed by the
American with Disabilities Act and the 1‘, 5'*, 8 and 14" Amendments to the Constitution of the
United States of America
138. The defendants failed to separate inmates Roberts and Montour, known dangerous Security
Risk Group safety threat gang members of the Crips, from vulnerable legally blind and severely
visually impaired prisoners when defendants were aware, knew and/or should have known of their
violent and savage propensities, and that such failure would result in acts and threats of physical
violence directed at other inmates such as plaintiff Steven Jude
139. The defendants fail to adequately supervise the actions or inactions of the correction officers at
Wende and failed to implement, provide and maintain adequate safe security policies and procedures
at the correctional facility, such that plaintiff, Steven Jude as well as others suffered acts and threats of
physical violence perpetrated by Inmate Roberts and Montour, from who plaintiff was not reasonable
protected in retaliation for filing complaints.
140. The defendants knowing that Security Risk Group Safety threat members posed a danger to the
safety and security of staff, other inmates and the facility, placing vulnerable sensorial disable inmates
with visually disabilities on the same. housing unit/tier with them, and permitting these “SRG”
members to lock out of their cells and function as porters known to be dangerous posed a clear and
present danger to the heal and safety of “SDU” prisoners such as plaintiff, and having the power to
correct these conditions, willfully, deliberately, maliciously, and with gross negligence and reckless

disregards., permitted the assault on Steven Jude to occur. In doing the acts and omissions complained

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of, including but not limited to permitting the assault on Steven Jude, the defendants, Brown, Hodges,
Strik and others unknown defendants were co-conspirators and intended to deny plaintiff of his
constitutional and civil rights protected under the constitution, defendants, in committing such acts are
liable to plaintiff under 42 U.S.C.A. §§ 1983, 1985
141. The inadequate policies and procedures for the safety and security of inmates and actions and
practices at Wende at all times relevant to this action, which were due to the acts and omissions of the
defendants, violated the plaintiff constitutional rights under the 8" Amendment, which require
defendants to take reasonable measures to guarantee the safety and well-being of inmates and grant
them the equal protections of the laws, that’s guaranteed by the 14" Amendments rendering
defendants liable to plaintiff under the constitution under 42 U.S.CA §§ 1983, 1985.
142. Defendants failed to implement, adopt, incorporate and enforce such rules, regulations, policies
and procedures for the safe operation and management of Wende as would reasonably protect plaintiff
and others incarcerated from being maliciously and brutally beaten by “SRG” safety threat members
with a propensity for violence, which has been longstanding and widespread at Wende, where a
gladiator type setting exist amongst “SRG” inmates and assaults and gang violence is rampant, with
assaults on inmates occurrences and/or happenings daily throughout the facility. |
143. Defendants, being so situated that any one of them could have acted to prevent the injuries
suffered by plaintiff as set forth above, did individually and jointly, deliberately, maliciously and
willfully failed to do so, rendering defendants liable to plaintiff under 42 U.S.C.A. §§ 1983, 1985
144. By reason of the above unlawful, malicious and deliberate acts, actions, conspiracies and course
of conduct of, by and among defendants, plaintiff has been damaged in an amount in excess of
$3000,000,00, including actual physical injuries, unlawful depravation in solitary confinement, “SHU”
violation of plaintiffs civil rights, pain and suffering, loss of the use of the vision in his left eye, and
limited use of his left arm due to permanent damage to his left shoulder |
DISCRIMINATION

. (ALL DEFENDANTS)
145. Paragraphs 1 through 145 are incorporated as though fully set forth here at length.
146. The aforesaid acts by all defendants, were under taken as part of a policies and practice of
“DCCS” and its employees, agents and/or servants to discriminate against Sensorial Disable inmates

being held in their care, custody an d control

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147. During the course of plaintiffs incarceration, defendants created and allowed to exist a hostile
living environment based on disability discrimination at Wende, and discriminate against and showed
deliberate indifference to plaintiff as well as others similarly situated health and safety, such
discrimination was in violation of the American with Disabilities and Rehabilitation Act statue 28
C.F.R 35.134 (a) (b) and other applicable laws that embodies the constitution.
148. Defendants discriminated against and showed deliberate indifference to plaintiffs health and
safety by retaliating against him for filing grievances and complaints about his unlawful discrimination
and denials of his reasonable .accommodations and assistive devices and services needed for his
disability, and unsafe living conditions on a disability housing unit and was defendants was grossly
negligent in supervising subordinates who committed wrongful acts and allowed the continuance of
such a policy or custom of denying appropriate reasonable accommodations and safe living conditions
for “DOCCS” sensorial disable population.

. NEGLIGENCE
149. Paragraphs 1 through 149 are incorporated as though fully set forth here at length.
150. That this action falls within one or more of the exceptions set forth in CPLR 1602.
151. Pursuant to CPLR, 1602 (2)(iv) defendants are jointly and severely liable for all of plaintiff
damages, including but not limited to plaintiffs non-economic loss, irrespective of provisions of CPLR
section 1601, by reason of the fact that defendants wrongful conduct was intentional
152. Pursuant to CPLR, 1602 (2)(iv) defendants are jointly and severely liable for all of plaintiff
damages, including but not limited to plaintiffs non-economic loss, irrespective of provisions of CPLR
section 1601, by reason of the fact that defendants are vicariously liable for the negligent acts and
omissions of those caused or contributed to the plaintiffs injuries.
153. Pursuant to CPLR, 1602 (5) defendants are jointly and severely liable for all of plaintiff
damages, including but not limited to plaintiffs non-economic loss, irrespectivé of provisions of CPLR
section 1601, by reason of the fact that defendants owed the plaintiff a non-delegable duty of care.
154. Pursuant to CPLR, defendants are jointly and severely liable for all of plaintiff damages,
including but not limited to plaintiffs non-economic loss, irrespective of provisions of CPLR section
1601, by reason of the fact that defendants wrongful conduct was intentional.
155. Pursuant to CPLR, 1602 (2)(iv) defendants are jointly and severely liable for all of plaintiff
damages, including but not limited to plaintiffs non-economic loss, irrespective of provisions of CPLR

section 1601, by reason of the fact that defendants acted with reckless disregard of the safety of others.

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156. Pursuant to CPLR, 1602 (2)(iv) defendants are jointly and severely liable for all of plaintiff
damages, including but not limited to plaintiffs non-economic loss, irrespective of provisions of CPLR
section 1601, by reason of the fact that defendants acted knowingly or intentionally, and in concert, to
cause the acts or failures which are a proximate cause of plaintiff's injuries.

157. The foregoing injuries and damages to the plaintiff were caused solely by virtue of the
carelessness, negligence, breach of duty, failure to protect and deliberate indifference and reckless
disregard by defendants for plaintiffs safety, and without any negligence on the part of plaintiff.

158. The described negligence of the defendants was tantamount to gross and/or wanton negligence,
entitling plaintiff to punitive damages.

159. Defendants owed a duty to incarcerate the plaintiff with due care, and defendants breached
such duty, by not guarding plaintiff against violence from other inmates and increasing the danger.

160. All defendants had actual and constructive notice that the safety, life and health of the plaintiff
was threatened, endangered, by reasons of the facts set forth above and failed to act.

161. All defendants negligently, carelessly, recklessly failed to implement policies and procedures
for the safety and security of inmates which including but not limited to video surveillance on housing
units, body cameras on officers, policies and procedures directing “SRG” safety threat members from
being assigned to lock on disable housing unit, and prohibited from being assigned porter programs
and locking out as porters and sighted guides/escorts for the blind to protect the safety and security of
inmates and the facility and prevent harmful illegal contact and assaults and misconduct from staff,
which is longstanding and widespread at Wende. |

162. All Defendants maintained exclusive control over inmates in their care, custody and control,
including plaintiff STEVEN JUDE, and his assailants Rudy Montour and John Roberts.

163. All defendants was exclusively responsible for the safety of plaintiff, STEVEN JUDE who was
in tier care, custody and control and permitted plaintiff to be assaulted and robbed by fellow inmates of
all of his possessions

164. Prior to 12/23/20, the named defendants, agents and/or employees had constructive knowledge
of inmate Rudy Montour and John Roberts gang membership and affiliation and history of their
tortuous, unlawful, wrongful and violent and/or anti social behavior.

165. On or about 12/23/20 all of the named defendants, agents and/or employee had made
reasonable inquiry, they would have discovered the history of tortuous, unlawful, wrongful, violent

and/or anti-social behavior if inmate Montour and Roberts, as well as the ongoing danger and threat

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they posed to plaintiff, STEVEN JUDE, especially in light of him as well as others writing letters to
the administrators at Wende of the threats and dangers to him as well as others similarly situated faced
from “SRG” safety threat members from the Crips locking on the sensorial disable unit and being
permitted to lock out of their cells and function as porters
166. In view of the above, the respective defendants, agents and/or employees of “DOCCS” acted
with reckless and gross. negligence in failing to adequately protect plaintiff from the threat and
ultimate physical violence posed by members of the “SRG” Crips gang, and more specifically that
violence which was perpetrated by inmates Montour and Roberts pursuant to the orders and directions
of Defendants Kostyszyn, and Burkhart. S

167. Due to the defendants negligence, plaintiff, TEVEN JUDE, was violently beaten and
physically injured through no fault of his own, and is entitled to damages in the sum of $300,000,00

RETALIATION

168. Paragraphs 1 through 167 are incorporated as though fully set forth here at length .
169. Plaintiff assault and battery was in retaliation for his protected speech about staff misconduct
and abuse/mistreatment from inmates, which staff allowed to occur and turn a blind eye too, and failed
to report.
170. Plaintiff has a constitutional protected right to submit grievances and complaints and redress
the government and be provided with reasonable safe living conditions of confinement, and in
retaliation for those grievances and complaints, defendants “DOCCS” employees, agents and/or
servants took tangible adverse action against plaintiff by arranging, allowing and permitting him to be
viciously and maliciously assaulted, failed to act to protect plaintiff and/or intervene and falsified
reports in furtherance of the conspiracy to obscure and conceal the true facts of the illegal misconduct
and malfeasance by defendants custodial security staff.
171. A legitimate, nondiscriminatory and/or non-retaliatory reason does not exist to justify none of
the defendants’ actions which were intentional, disparate and retaliatory treatment of plaintiff, which
was outrageous, which practices constituting a violation of plaintiffs’ constitutional rights.
172. The unlawful retaliatory practices that’s complained of and the actions of defendants and/or their
agents were willful, wonton, intentional and committed with malice or with reckless indifference to
plaintiffs protected rights, entitling him to compensatory damages and punitive damages pursuant to
1983, 1985 to punish defendants for their actions and to deter them, and others, from such actions in

the future.

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173. As a direct, proximate and foreseeable result of defendants actions plaintiff has suffered
emotional pain and suffering, mental anguish, inconvenience, loss of enjoyment of life, loss of dignity,
emotional distress, and humiliation and other nonpecuniary losses and intangible injuries.

174. Defendants violated plaintiffs rights under the United States constitution guaranteed by the 1*
Amendment to redress the government by retaliating against plaintiff for filing grievances and

complaints, Defendants in committing such acts are liable to plaintiff under 42 U.S.C.A §§ 1983, 1985.

CONSPRIRACY
(Against all Defendants)
' 175. Paragraphs 1 through 174 are incorporated as though fully set forth at length.
176. Defendants, and each and every one of them, agreed and/or combined to engage in a civil
conspiracy to commit the unlawful acts as described above for their own interest and to violate
plaintiffs civil rights by arranging and permitting him to be viciously assaulted in retaliation for filing
grievances and complaints, and falsified reports to conceal and obscure the true facts, as described
above in violation of 42 U.S.C.A. §§ 1983, 1985 for which the defendants are individually liable.
177. In committing the acts described above, defendants acted with malice towards plaintiff, and
plaintiff is entitled to recover punitive and exemplary damages in the sum of $300,000,00 in such as
will sufficiently punish defendants for their willful and malicious conduct and as will serve as an
example to prevent a repetition of such conduct in the future.
MALICIOUS ABUSE OF PROCESS, FALSE MISCONDUCT, FABRICATED REPORTS, DUE
PROCESS
178. Paragraphs 1 through 177 are incorporated a though fully set forth here at length.
179. Defendants Kostyszyn and Barlow used disciplinary measures and process against plaintiff by
failing falsified reports of false and fabricated misconduct in order to intimate plaintiff and to dissuade
and deter him from asserting his protected rights an din order to cover up their own wrong doing and
malfeasance, and avoid civil and criminal liability for their own acts.
180. Defendants Kostyszyn and Barlow knowingly and intentionally falsely accused plaintiff for
misconduct and subjected him to solitary confinement in Special Housing Unit, “SHU” and allowing

all his personal property to be stolen, causing plaintiff to suffer damages.

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181. The acts of defendants Kostyszyn, Burkhart and Barlow were done in bad faith, and
maliciously with the intent to deter plaintiff from exercising plaintiffs constitutional rights to
redress the government and to an fair and impartial hearing and to pursue charges and caused
him to suffer intentional infliction of emotional injuries, and such acts warrant the imposition of
punitive damages.
182. Defendant Hunt violated clearly established Constitutional Due process rights of the
plaintiff which she knew or should have known she was violating and her motto is “ALL
PRISONERS ARE GUILTY OF MISCONDUCT CHARGES FILED BY STAFF” and she has a
100% conviction rate of disciplinary charges sustained against prisoners overseeing the tier three
disciplinary hearings, and her intent was to cause plaintiff intentional infliction of emotional
trauma by unlawfully placing him in solitary confinement and be denied of his reasonable
accommodations for his disability.

(VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT)

(ALL DEFENDANTS)

183. Paragraphs | through 182 are incorporated as though fully set forth at length.
184. Plaintiff is a qualified individual with a disability as defined in the ADA. He is legally
blind and has a drop foot, which substantially limits the major life activities of seeing and
walking, it also affects other major life activities including reading, learning, performing manual
tasks, walking, communicating and working.
185. Plaintiff has records of having such impairment.
186. Asa State prisoner, plaintiff meets the essential eligibility requirement for the receipt of
services and/or participation in programs, services or activities provided by defendants and to file
grievance and complaints about unlawful discrimination and unsafe living conditions of
confinement 42 U.S.C. § 12102 (2): 42 U.S.C. § 12131 (2) U.S.C. § 794, 28 C.F.R. 35.134 (a)
(b); 28 C.F.R. § 35.130 and other applicable laws that embodies the constitution.
187. Defendants discriminate against legally blind prisoners by failing to accommodate their
disabilities and retailing against them for filing grievances and complaints about being denied
appropriate reasonable accommodations for their disability in order to be able to access the
programs, and services in at least the following areas; educational, vocational, work, grievance,

disciplinary proceedings, Health Services, recreation and safe disability housing.

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188. Defendants discriminate against plaintiff on the basis of his disability in violation of 42
U.S.C. § 12132.
189. Defendants are agents, officials and/or employees of a public entity and/or public entity
as that term is defined under 42 U.S.C. §12131(1)(B).

(
(VIOLATIONS OF SECTION 504 OF THE REHABILITATION ACT)

(ALL DEFENDANTS)

190. Paragraphs 1 through 189 are incorporated as though fully set forth at length.

191. Plaintiff is a qualified individual with a disability as defined in the ADA. He is legally
blind and has a drop foot, which substantially limits the major life activities of seeing and
walking, it also affects other major life activities including reading, learning, performing manual
tasks, walking, communicating and working.

192. Plaintiff has records of having such impairment.

193. As a State prisoner, plaintiff meets the essential eligibility requirement for the receipt of
services and/or participation in programs, services or activities provided by defendants and to file
grievance and complaints about unlawful discrimination and unsafe living conditions of
confinement 42 U.S.C. § 12102 (2): 42 U.S.C. § 12102 (2); 42 U.S.C. § 12131 (2). C.F.R.
35.134 (a) (b); 28 C.F.R. § 35.130.

194. Defendants discriminate against legally blind prisoners by failing to accommodate their
‘disabilities and retailing against them for filing grievances and complaints, during the course of
plaintiffs incarceration, defendants crated and allowed to exist a hostile living environment based
on disability discrimination at Sullivan, Eastern and Wende, and discriminated against and
showed deliberate indifference to plaintiff as well as others similarly situated Health and safety
and disabilities needs, such discrimination was in violation of the American with Disabilities Act
and Rehabilitation act statutes 28 C.F.R 35.134 (a) (b); 28 C.F.R. § 35.130, and other applicable
laws that embodies the constitution.

195. Defendants discriminate against plaintiff solely on the basis of his disability and
retaliated against him in violation of the disabilities statues for filing grievances and complaints.

196. DOCCS receives federal financial assistance.

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment against
defendants, and each of them, jointly and severely as follows:
197. Adjudging and declaring that the policies, practices, omissions, and conditions described
above are in violation of the rights of plaintiff under the Constitution and State law.
198. Directing defendants to immediately transfer plaintiff from Wende as they have put his
life and safety in jeopardy by gang members and other inmates by telling them plaintiff was
pressing charges against his assailants, and suing the officers who is known to retaliate.

‘199. Directing defendants by enjoining and restraining them from continuing to allow Security
Risk Group, “SRG” members from being assigned to be house on the designated Disability
housing unit and being assigned porter and escort for the blind jobs and programs, and/or
permitted to lock outside of their cell as porters.

200. Directing defendants to expunge all references of the falsified fabricated disciplinary
charges and misconduct from plaintiff records and files and restore his $5.00 disciplinary fee.
201. Directing defendants to take all necessary steps to immediately install video surveillance
cameras on all housing unit/tiers and require all security custodial staff to wear body cameras for
the safety and security of the facility and inmates and to deter staff abuse and assaults on inmates.
202. Directing defendants to provide plaintiff with a portable CCTV on loan in order to be
able to read at all times in his cell, and a type writer on loan for cell use as an reasonable
accommodation for his disability, assistive devices and services, which would permit him to read
and effectively communicate in accordance to the Disability statues.

203. Permanently enjoining defendants and all persons acting in concert with them from
subjecting plaintiff to retaliation, and unsafe conditions of confinement that pose a risk of serious
harm to his health and safety.

204. Awarding plaintiff reasonable attorney fees, costs, disbursements, and other litigation
expenses pursuant to 42 U.S.C. § 1988.

205. Punitive damages.

206. Such other and further relief as the court deems just and proper.

Dated: April 1, 2021 Se «

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VERIFICATION

I STEVEN JUDE, being duly sworn deposes and says that I am the above

captioned plaintiff in the within 1983 U.S.C. Complaint and that I have read the

foregoing Complaint and knows the contents thereof, that the same is true to his

knowledge, expect as to the matters therein state to be alleged on information and

belief and that as to those matters, he believes them to be true.

Subscribed and sworn to before me

this |S day of Moy , 2021

OTARY PUBLIC

DATED: March 31, 2021

Yorn bide

Steven Jude, pro-se
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- oe Lf: Air lA - Th G aH BG See Page 39 of 75 ©

New York Lighthouse .
Vision Rehabilitation Savvis

August 20, 2008

. Re: Steven Jude /0H 79 |
DOB: 03/22/1970 ae

To Whom it May Coneei, ewe a

{ Please be advised that Mr. Steven Jude is.a patient of Lighthouse .

Jnternational. At neislast visit on 08/20/08, best corrected VA was
found to be 1 foot/300 (20/6000) OD, and HM OS, thereby ”
sendering Mr. Jude Legally Blind trom Glaucoma OD, OS. Due to
his extremely impaired vision, climbing steps, seeing ights, .

o : crossing streets, seeing street sizDs and reading are all extremely
oT cefreult tasks-- Mr-Jade.is.at great risk for injury should he need to.--

use Mass iransit without the assistance of a sighted guide. Please
_ agsist this nice gentleman in any way possible. if you have any

~ questions, please feel free to contact ms. .

Sincerely,
ete aihy ets 8,
andes yor ANY TAVEM ~ ;
V é :

Andrea Zimmennan, ODFAAO.

__ Lighthouse International Low Vision Clinician . *

411 East 59th Street New York, NY 10022-1 202 -

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Case 1:21-cv-00654-LJV-LGF Document1 Filed 05/19/21 Page 40 of 75

 

NEW | Commission
: YORK | | .:
state | for the Blind
ANDREW M. CUOMO “SHEILA J. POOLE
Governor Acting Commissioner

Verification of Legal Blindness —

 

 

 

 

 

 

IName: 7 NYSCB Registration No.
STEVEN JUDE #72469-054 CF# 182955
Address: | ,

M.GC.C. 150 Park Row
New York, NY 10007

 

 

 

The above named person is registered as legally blind with the
Commission for the Blind in accordance with New York State law,
Section 8704.

 

  
   
 

Signature:

 

‘Title: / Director, Program Evaluation and Support -
Date: ( 08/19/2015

 

 

 

52 Washington Street, Rensselaer, NY 12144 | (XXX) XXX-XXKA | visionloss.ny.qov
Ta! Pasete fe

~~ a PRP AGEN OPARAMaDY LF Dogumnent 1 Filed 05/1969 RAOEANPR Sage om |

“2 Me 002363931... Acoodnt’ #.¥o0006227797 | «| “Report # 1223-4082 *

7 Please seé the dedicated CT.of the chest, abdomen and pélvis-for findings outside of the spine.

   

CHESTS 0"

  
   

os ‘Neck base: Normal... . of me 7 hy o - et Oo Te - .
Lungs and large-alrways: There is dépendent atelectasis within the bilateral lower lobes. Large ainways ate unrémarkable.
“PleurasNo effusion or pneumothorax, soe. sh ee EEE a

~ 2" Heart and pericardium: Meart size is normal: No pericardial effusion: o
»., Mediastinum and hila: Unremarkable: There is no pathologic adenopathy.

=. Megpele:.Northabics gate tan | ae ag
_ Bones and soft tissues; No acute asseus ab

oi
=

Po te at "sme a Se * x . . . “.
aie Oe what tea awe eS ae pee My we +e en . -~ ~ er,

nor

 

"Liver: There is'a faintly enharicing 1 om focus withir. the lateral left hepatic iobe on thé arterial and portal venous phases.”
“that most likely represents a flash filling hemangioma... * - rae Se

Gallbladder and biliary tree; No calcified gallstones. Normal caliber wall. No intra- or extrahepatic bilary ductal dilation 2s

 

      
 
     
  

 

+.) . Pangreds::Normal... ot we

~ Spleen: Normal. : = on
<2 ~Adronals: Noone! poy s0 cc tei gi agg ao dn ben opt at wig teem om
.. Kidneys and uretérs: Na suspicious renal fesiori? Pe a

ic No hydroitephrosis of Galois 8

vt és Bladder Normal. 7.” oo co

:, Visualized Reprdductlve Organs; ‘Unramarkable.. 2. a

« Gi Trattesentory and:Perltoneal Cavity: There is rio bowel Wall thickening or dilatatiod. No free air or free fluid,

: ‘Retroperineum: Unremarkable,, (= 2 Le a

Lymph nodes: No lyntphadenopathy.)

ou oe Vessels Uneniathables |. 80 te a
“ss. Bones arid soft tissues: There is a 2.6 ci ill-defined focus of nonenhancing soft tisque thickening within the right anterior...
*. > 7 hemipelvis, interposed between the right inguinal canal, right external fllac vasculature, and bladder, best seen.on series,

J. 7 S01 image'41, No acute ossequs abnormality... - e ee cs
So J 17 1 ihdefined:2.6 cr nenenhanaing soft tissue focus interposed between the right inguinal carial, right external iliac’.
‘+. + vasculature, and bladder, This is of indeterminate etiology and m ay feprasent a small contusion, séquélae of prior

   

. Surgery, or.trom attempted line placement. Correlate with clinical history and physical exant findings.”
- 2: There ig otherwise no evidence:of acute traunjatic abnortiality within ihe chest, abdomen, and pelvie.. ~
SR Dee he RTE mer eee we * : Me overs, we am : oe Pie tra a me : oo "8 Pee ee ae

: va Sa “ae any

  

os + Medical Decision Making .....
Jo 8" 3 “"Medigal Decision Making. “00% 00 2 oo

<. 50-year-old male presents emergency departniant today from his corréetional facility. after he was assaulted by other ;
“.., inmates having been stabbed with a.sharik above his left aye, siruck in the head, and hil all over his body: He did lose.
~ Gonsclousness. “He is Gutrantly complaining of head pain, back pain, and left upper extremity pan: He has had episodes
"2" ofnatisea and emesis. On initial arrival to the emergency department the patient is hemadynarnically stable witha GCS.

soit, OF of 14, He is able to localize his pain: On examination thére is a 2 em laceration above the Jaft. upper lid.without any. “>

'. evidence of Injury to the globe or hyphema. Lungs dre clear to auscultation and chest wall is nentender. Abdomen is soft. -

With ditiuse. tenderness to palpation.. Vertebrag are with diffusg tenderness to the thoracic spine. without any obvious -

~~ deformity of fhlury: “There is no‘neurolgie defiti” We Wil procééd forward witht ordering CTntaging oPthé heady face, “=: F<
torso, and spine, “Will also obtain x-ray Imaging of the left.upper extremity. Ce Oo

   

es

~

“1940; The patient's work-up has returned unrernarkable for acute findings. Patient did become febrile with.4 temperature —
- 1.3" Of 102.2F; he denies any complaints of infection and this is likely reactive to the trauma. He willbe given a doso of...”
1 + a" Tylenol for this, CT of the head shows a subgaleal hematoma without any intracranial injury, hemorrhage, arskull |
. r+" “fracture, CT of the spine does not show arly fracturé or dislocation. CT of the torso reveals a questionable area which Is
+g, Possibly.a small hamatoma in the right inguinal region, the patient states that he has had surgery in this region in the past”. ~.
Vand he is nontender én physical exarh without any overlying skin changes, “X-ray imaging of the uppet extremity is
J. ¢ negative for fracture or dislocation. Caceration was able to ba repaired at bedside without issue. Cervical collar was |
'."". ‘removed, “The patient can be discharged to Wende GF and be placed in the infirmary to be monitored for his concussion.

OO BD Diagnoses’ 3
Diagnoses: 0. Co BO - an

es ehh os. ot Ppimary Impression: - vere eye Daa Vouk. UA eth. Bee ee et ote ara Be Bae

 
  

~. ne « : - « eae :
ae ae ate we ac "sw . ae o ~
sah 8 Giy- CRetsAebal LGF Dagument 1 Filed 05/1 ee BFA! Page wus

ot ne . Loe rohe
oi al amar isa. bya os dae ae ot ‘te! se A oMele ee me wad op arte aos

° MRE “H00%363951 sos Rocoune. ¢ ‘voodveedi799 . Report 1223- r082"
es sme a eh ee hn sh ean 400 IBN ah AEB OY Ha A SAO NP ON eit

ERIE COUNTY: MEDICAL CENTER CORPORATION

“| BD-Pravider Report”
402 Grider. St, Buffalo, NY 1421 5
a a) B96. 3000.

  
   
 
  
 
   
   

 

 

 

 

 

 

, oy Mra: oo18696 Acoount oooesérre7 |
:.. Age/S6x: 50/M.

 

wo alien's Kans ue. sTEvEN

“+ Reporté 1223-1082 -” ne We
‘- Date of. Birth: osi22r1970: oe vie ) "Admission Date/Times’ ‘
oe Attending. Physician: - ” “ ) > Admitting Servicer: * me
‘Dictating Provider: THOMPSON, SARAH PAC: * ~Dietating Di Date/Time: 12/2/20 1660":

WENDE, CORRECTIONAL, Paci

sa it an atti alan ees *, a, eethpaarstond .

    
 
 

- Primary Provider;

    
  
   
    
   

~. ‘Tracker. Chiot st Gomplatet: Body Wide, Pain _
i Tine. seen.by EQ provider: 16: 46° 7
o Boutros patient. 5
+, History Limitations: HO Siang

: auetglesttesications:

"Allergies: 7.--
“Coded: Allergies: :
AN No Known Alegis (unis

 

A rire

  
 

. ‘History of Prasant Mines :
~slnitial Comments. 0.7 we oe ve
Ks §0-yea?-old male. with a past medical history of glaucoma, legal blindness, asihina, diabetes * hypertension: ‘history of
-. polysubstarice abuse, and: intlédeial. personality disorder who Is currently an inmate at Weride. correctiorial.tacility who,
: presents to the ER today after he was. assaulted: The patient states that earlier’ today: The patient States thatha was | |
.. Stabbed: with a shank just above His left aye. by 2 gang Miambers at his facility, hé was then struck in the.head with closed
". fists and allover thé body. .He did loga consciousness.’ He ig. ‘currently experiencing pain to hig aft: ‘ayé, haadache, back «
“pain, -and jeft amt pain, He etates that hé.is riauseous and has had a few episodes of vorniting: - He states that he has
haying: some vision’ changes: secondary’ to swelling ‘of his aye but is ‘legally blind at baseline. Hea does not take blood °
= oe He is net. sure when. his s-last tetanus shot was. He Henies any numbness or Weaknioss of. his 7 :
8 emities.. wo cg Doe en: we,

     

oe. ‘Past History
“Past History: .

.. Past. Medical History: “Reports other (asa stated in ne)
© Surgteal Historys: Freports no surgical NSO

 

    
   
   
  
   
   
  

  
 
 

    

    
 
  

 

_ Sacial History .. - ee Pe 4 ne
; _.. Living Arangements: ‘re: (ooces Wensay ms
u "Smoking: “emaker. Meee TUE ean rr
tae 2 Aleohol:* Genes . eB Bp ae : ae Fale pg Ree San ni * ro Te eS

“peitew 0 of Sy stent
-.- Review of Systems: "
"OS Narrative. co
ho Review Of Systems

 
  
   

 

“ “General: Denies fever? hills, inalaise, fatigue, sweats”
-. Bye: Admits to aye paln and vision changes °°"

D0; Nit) | MENT: Admits to tinnitug.denies nasal discharge, sore: toa, tag
a _ Respiratory. £ Denies cough ¢ ‘shortness } Of breath, stridor ce

 
wt em we — 7 7 ~~

eg EQSE RALG -CV- 00654- LJV- AGF Document] 1 Filed oS/t 9/24 _ Page 43 of..75

wats % “aeere! : wee “eo - ~, , ian ae. ‘ear we a 2 te ow nae woe “

. af “ERIE COUNTY MEDICAL CENTER -
HEALTHCARE NETWORK:

  
  
 
  
   

 

    

462 Grider Street

 

cee _ ys Buffalo, NewYorktdats
~TeRTIENT OF GME SERENE

 
      

M peri’ RetER® “Pt eat ‘ef

PT NAME? ibe Seven” ae
: , | Attending: ~

    
   
    
  
   
    
  
   
   
  
  
  
  
  
  

    

-MAN: 001363931 7 ns moo | .
“DOB: 03/22/1970. “Bek Mo fe a 8 Pte. Reterrlags. THOMPSON, SARAH PAG toa ay Te
arvice. Data: "4223/20 Time: 1855": - wort, + Primary Care: WENDE’ CORRECTIONAL, FACILITY ae
Not s Tee a) oo Aeéount Number: V000062277977 ° polo

 

7 RINE a WE “REPORT NO: 1200-0505 a
298-0088 CTICT. Head -Trauina WO Vv . “os woe ;
41228-0080.CT/CT ree aura wou *

   

 

7 ead Treunia WO W; or Fate Trauma wo W.
“OUNICAL. HISTORY: inguRy . Le Ss

 

PROCEDURE: CT images through the, head anid face. were: sequel without lV contrast, Upto-date 0 or
-equipment-and radiation-dose feduetioni tgehpiques. ware ‘employed. ZC TDIvo|:-45,2 mGy. DLP: 1406 * ee te be ts

‘mGy-orn- (accassion CT20201283-0048), ‘Up-to-date CT sqlipment and radiation dose’ reduction rc
‘techniques were employed, CTO Nel: Omeys DL, Omgy-cm. iovession Gr20ze|223- 0088) De er oe,

s DY COMPARISON: No opr ruc ware, alle for compari.

   

Small bright para ube hepetoma near. the vate li. sta callings are veep

nk wm aL ate

 

There | isno evidence | of an bute large tonitorial Interoton, intaranial Reriorag, mage oF mass affect,
of abnormal ext exial collectio Be tt

  

' até leno abiormal brain parereymel density. .
The veritces, gull and clear are normal in eize and centgutan There is ro ohytocaphat

The danaly of the larger dal venous sinuses, is. norma

 

Tha aul base and calaur are eiiormal ae
The. incuied pareriga sinuses, are predominant cca.

The included mastoid 9 ai calls are e predominantly clea,

 

eo & ” mio ae . 6S 2 hy :
see 8 FRA ne Tt ee Sen mn
oe : ot Fe ot to tem =~

 

 

 

‘as ats rman fos a soi ine reap pa
“a/R: SHAS 8Y “eterna, AGF “Dasument 1 “Filed: 05/ 1h BPE A fe! Pose 8 ae

5 . “RE 1001363992.. ; Ee ‘Actount #: ‘yooooead7737_ . ms _ aopored 1223-1082 :

fh ose ha At ae ae 0 188. me A Je mR ow 0 a 8, .

    

 

  
  
   
  
   
    
  
    
  
   
 
 
    
 

[on sae wo mi ng ie tet ao) aha wh awe.
t a * . noe

"Catt humerus: No acute rate of isloetion. ae
“CT HEAD: ,

* "Sinai ight parietal eubgaieal hentatgina’n near the verte: ‘Motliole “seal ‘Gale fidaifons are resent
There is na evidence of. an acute large terdtoria infaration, , Intracranial jhemorthage, mass or Mass otek or abnormal

xtra: -axial gollection.' - : : a : poe,

"There ié to” abnormal brain parerichymal dens. a

‘The véiitricled, sulci and clsterns ave normal-in size ‘and conga ne There is no ayergoepnalu,

The dansity Of the larger: dural’ Yenous sinuses is normal, : no .

 

woe

The. skull base and-calvaviam are normal.”
wn The. intluded paranasal sinuses.are predomitantly clear.
: The fe Included 0 Mmastold alt, bells are  precoming antly clear. °

 

‘Catt ft periorbital preéeptal soft liseue swelliig. «
“Thera.is an age. indeterminant left nasal bone’ fr actUre.
The’ parotid’ and. submandibular’ glands are: within” normal iit.
Adendids are prominent fora patient this tt
“The course and calibar of the optic neive sheath complex is within narmal lite:
The extroéular. muscles, intraconal fat, and axtraconal fat are within normal limits,
‘The bony orbital walls-and optic canals are nor mall”
~The lacrimal.glatids appear. formal, * :
. The visualized paranasal sinuses ahd tymavomastcid caves are Fe epactid,

“IMPRESSION:
"1. No'acute. intracranial | dbrioraelity. L : , a tO
‘, 8." Age-Indeterminart left. nasal bane fracture. ‘Correlate’ for paint tendeinase,
© 3. The adenoids are. prominent for A patient this 2g6 which | is mest somos ily. § feaciive or senondy to an:
|mmtundccimpromised s states. SO a ae Pee a ae o

 

 
    

, FINDINGS:
. -Carvigal spina:. Bes
There is ho evidence. of an Acute fracture or aublyxation, Notmat 2 oni ism antag without scoliosis or listhesis.
.” ‘Vertebral. body heights are-maintained. en, . ;
. No: aggressive osseous lesions-are identified. -

. The paraspinal soft tissues are unremarkable,

   

ee _Triface sping:

“there is- no evidence of an ‘agute fracture oF eubuiation Normal alignment ig maintained without isthesis.
Vertebral body heights are maintained. ee :

"No aggressive ossedus lesions are idenitfied., : cots

= There aré nilld multilevel-spondylotic changes: without areas af of signticant eal canal narrowing.

‘The paraspinal s soft {issues 2 are, unremarkants.. - . . De, oe

Lumber spine: SS ‘ ne , , .
There is. no evidence or art acuis fracture 0 or subuxaton, Nota alignment is, s maintained i inthout isis,

_ Vertebral body heights are maintained. . Co , .

No aggressive osseous feslong are identified.

    

‘: The paraspinal soft Sesues, are unremarkable..

IMPRESSION: wy ‘
1. “No acute fractures in the servic, thergato or toro spine,

= To2 1. -There-ate mild spoctiylotio‘ohanges al the. igus sent without slocertspinatbraerowng oe a TA + ee pe

 

Pere ate mild Multilevel soondylone ehanges” oso cba canes oti se canal Dae a uae
oe 1 Gage JaZiray- ORG bAdkadl- LGF Doeument 1. Filed OS/1 242d Pend spin? See yur

 

D une: Moois6ssaa oe “Account. # voogns 627197 i  Repored j223- “1082

ot saci Be ty a ao a ease a oestinigt a cea go Wm Yew th 21 Zit Se a ane a iE AS Ae AH ae air SUN nk md tah B48 8d Ea ah 10H 90 cto dm su es a
Gatdiovascular? Denies chést pain; edema, ‘dizziness: os
__ Gastrointestinal: Admits to-abdominal pair, nausea, yomiting. Denies ¢ stool changes. a
Genitourinary? Denies innaiy fegusney; cera ERE ACES ER ie a Tt
.. Musculoskeletal: Admits fo muscle, aches, arthralgias ae
+.» Skine Admits to brulsing-.. : me
‘ Neurologia: Admits to. "hgadsohe.- Denies numbness, seizure iy acy aint
imimiundlagic: Denies’ ‘allergies, anaphylaxis history: : ° :
Psyohiatic: Dénies SVHI

Physical Exar

 

   

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SMITA MELA a ut

 

 

     
 
  

 

 

 
      
   
  
   
  
  
  
   
   
    
  
  
   
  
   
 
  
  
   
   
 
   
   

19 eae se [Hosp | HP (MAP).| Pulse OX | Oa Delve [O2tlowhae TFOz] °.

 

 

 

 

 

 

 

 

 

 

 

 

 

ens ahi te ator (Patent is latargieo on exam, , loeping in ihe examination room, ‘Does recover Jat atimulis.
‘0 awake :
Rye: PERRL, EOMI:; other (Thére ig an ‘approximately 2 om laceration just above’ ihe left upper tig with sigan edema.
about thé periorbital region, With manual opening of thé lid there is no evidence of hypherha of pupillary defeat)

ENT: nasal-turbinatés (No evidence of epistaxis), hips, teeth, gums inspection, (No darital injury), gral-mucous -’ -
membranes moist; hematoma (There. is'a large hematoma to the left occiput a3 well as bruising | noted to. ine right oc
Neck: ‘normal range of: ‘mation, other (There. ig tendemess to palpation | to the.entire pdsterior neck) °
Reapiratory:-nogmal-breath- -sounds J ‘RO fespiratary. distress, chest nop-tendaly Jungs. clear.norma} respite
Cardiovascular: ‘tegular. rate, rhythm, no edema, nenmal periphierdl pulses “~

Abdominal/Gastrointestinal:. normal bowel sounds, sdf, tenderhess (Diffuse tondeimess to palpation)

Back: normal, inspection; other (No. obvious deformity: or injury. There’ ig point. tenderhess: over. the entire: thoracic “
‘vertebrae arid upper, lumbar vertebrae without step-off deformity or obyious-injury) .
i Extremities: “other (Patient: maintains full range. of mation of his lower extremities and Is without any point tendeiness. .
Normal rangé’ot nation of the lower. extrémities Without any deficit, No point tariderness about thé right upper extremity’
and he maintaing full ‘ange of motton. Thera is some point te tenderness to the, Humerus. of the lefl upper Oxtremnity y with

». limited range of hiotion ofthe shoulder secondary to Salo} :

Skin: ng rashes, no nodules, warmdry.

: Psychiatric:. alert & oriented x3, normal thought pattern |

Neurologic: 1 a normal speech, Orgnisi nerves fr intact, motor, st renat normal, sensory normal

 

 

 
  
 

Procedures :  ,
C-Spine’ Clearance’ a
Meahanigmi: Fall": 2002 3:
Collaf placed: Hospital so
Patient Reliable:-No wo.

ff no;.Reason. why: ‘Altered niehtal stalus (eoser Bb) Sob
- Patient: complaints: Neck pain-specily Igeation (ite neck pain). a
CT sean. Normal:
" Clear of sig injury. based ai: Normal imaging of ful e-spine ae
: ? Qollar, rentoved.. can z

Lacejation Wound ftepai 7

 
 
   

 

“Wound Length (cm): 2) ce
* Depth; Shapeslinear. ~ :
-« Wound Explored:’ clean 3...
“Irrigated w/ Saline.(ccs): 20.

—Betading Prep?: Yes= 0.02 0S
“2s: Anesthesia: 1% Liddcaine w/ Epi. :
| ome Anesthetic (mil, As a

 

 

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Ma,
   

 

» Case: het: ey -00654- LJV- LGF: Document: ‘+- Filed 05/19/21. Page 46 of, 75, - ope

T NAME: JUDE STEVEN See
EPARTME! FIVAGING SERVICES

     
       
 
  
 

* eDIoaL RECORD NUMBER: Montsant
REPORT. Noi Tees Aa88 fens

  

 

      
 
  
    

 

  

   

 

 

 

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lime. reviewed at _. DOUGLAS 8 DRUMSTA‘MD typaan years oo
2. gnediby: 2:3 ‘sElectronigally signed by. PQuELASS § LPRUMETA Wi it OV > ye
_ ign dite /.fimey \a7e8/20 Thee oy al! wee Dé

  
Case 1:21-cv-00654-LJV-LGF Document1 Filed 05/19/21 Page 47 of 75

FORM 21714 (10/14) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISIO \

 

 

 

 

 

 

 

see Weaseé . Correctional Facility
INMATE MISBEHAVIOR REPORT ¢ INFORME DE MAL COMPORTAMIENTO DEL RECLUSO
14. NAME OF INMATE (Last, Fist) ¢ NOMBRE DEL RECLUSO (Apelliio, Nombre) NO. ¢ NOM, ¢
| Tuoe S$ - 17 Aoe4o . “Ud
2 LOCATION OF INCIDENT ¢ LUGAR DEL. INCIDENTE : _ DATE + FECHA . .
D~Breck 2Y Company | 2/23/2¢ {6
3. RULE VIOLATIONS) + 4 ff ¥ fF ~
lOO.% = EF fourpus |
| oY. { Us Glee Ce Quack

 

    

‘Leys Césare DEfTue BAAS

4, DESCRIPTION OF INCIDENT « ORSCRIPCION DEL INCIDENT E . .
Ow “the Abe Orve + eee ay - THE Wa
“a fo (455 (82  Feoan UWE tHe Pen JE Te
ive VTAOMS Armetco 24 Compane Paine ©
Monte. 1/2 A S637 | (orth Cheese Grr Punctl cs
INMATES COT auce To PX ehatéc C fessrd Rest ;
LCoS. Kestysty, | Gave A OO Olden _ STe?.
| Bethe Dvmeare Con LEEO AAD | Lee. kD Tas _ AEA SGT .
Lnware June WAY F3sterse te Bau Taumare Moa
ecoheo AF BY Preden. SS Ulnar, No Eusrbee D2nT

 

 

 

 

 

 

 

 

 

 

 

REPORT DATE + FECHA REPORTED BY + NOMBRE DE LA PERSONA QUE HACE EL INFORME SIGNATURE ¢
(2fe2/2e | S. Gerrentt., oe

 

 

 

 

 

 

 

5. ENDORSEMENTS OF OTHER EMPLOYEE WITNESSES (i any) SIGNATURES:
ENDOSOS DE OTROS EMPLEADOS TESTIGOS (<i hay) FIRMAS: 1,
2 3 . fan ng eee A
UATE owt hock, Pane 2 an catfar line Rafora camnlating helew, _. iy LoK t 7 Yr A
DATE AND TIME SERVED UPON INMATE }-.2f ~=2f | LP Oy rameanntmeorsrv_f JS CPW YT OU.
FECHAHORADADOALREGLUSO 8 oe NOMBRE Y TTULODAL QUE ENTREGA

 

 

 

 

You are hereby advised that no-siatement made by you in response to the charges or information ‘derived thorefom may ° be used against you in a criminal
en una denanda conan” Se le infomra que no Se pusde usar ningina dectaracion hecha por usted somo respuesta al cg. (go ola informacion derivada de ela

oo a NOTICE ¢ AVISO. - , ot -
REVIEWING OFFICER (DETACH BELOW FOR VIOLATION HEARING ONLY) ‘

You ara hereby notified that the above report is a formal charge and will be considered and defemin a i ; Por este medio se le norifica que
61 informe anterior es un carge formal ef cual se considerard y determinarg en una auidiencia a colts hearing to be held. _ : :

The Inmate shall be permitted to call witnesses provided that so doing does not jeapardize institutional rect is. ¢ Sele permifird al rectuso llamar
testigos con ial de que ai hacerio no Pondré en peligro la seguridad de fa instiweten 0 los abjectivos dal Bopererectional goal ,

If restricted panding a hearing for this misbehavior report, you may write to the Deputy Superintendent for Securi or his/her d. jesignee prior to the hearing to make
a statament on the need for confinued confinement. ¢ Si esid rosinngids pendiente a una audioncls por este fo anne de maj compartamiefio, puede

ri
escribicle af Diputaco del Superintandenta gs uridad o su representanta ai I rea de la n lad de
inuar bajo oontinemiomtor prone sie para 399 Pp nites de la audiencia para que haga una dec claracién ace! .

Dietfbution: WHITE - Discipfinary Office . CANARY Inmate (After review) + Distribucién: BLANCA - Oficina Discipliaia- AMARILL/ A- Recluso (después de la regién)

“
Se eee ae

 

 

sorter cree

  

Case 1:21-cv-00654-LJV-LGF Document1 Filed 05/19/21 Page 48-ef 75

 

~ a} STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION pe
&
. (eave Correctional. Facility gut

INMATE MISBEHAVIOR REPORT ¢ INFORME DE MAL COMPORTAMIENTO DEL RECLUSO

“CAB Fe .
24 -( 2 o

   

ENDOSOS DE OTROS EMPLEADOS TESTIGOS (si nay)

 

2 : %
2on before

 

below.

Z. aN ane ee ae a ee eee
_ DATE AND TIME SERVED UPON INMATE LLL 2 j “| : 3 GIN NAME AND TTL OF SEAVER ___ | Sada fro
FECHA HORA DADO AL RECLUSO f : NOMBRE Y TITULO DELQUE ENTREGA a _

 

 

 

 

 

 

You are hereby advised that no statement made by you in Tesponse to the charges or information derived theretrom may be used against you ina:
proceeding. « mors pate n medio se le informa que no se puede usar ninguna declaracién hecha por usted como respuesta al cargo 0 fa informacién derivada
en una demanda criminal.

; NOTICE ¢ AVISO
REVIEWING OFFICER (DETACH BELOW FOR VIOLATION HEARING ONLY)

You are hereby notified that the above feport is a formal charge and will be considered and determined at a hearing fo be held. ¢ Per este medio se le norit
el informe anterior as ur cerge formal ef cual se considerara y determinar4 en una audiencia a celebrarco. . .
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j The Inmate shall be permitted to cal! witn: Provided that so daing does not jeopardize institutional safety or correctional goals. 6 Sele permnftir al reclusc
jtestigos con tal dé. que_al Hacerto.na.pondra en Peligro la seguridad de le-instilucién o los objectives det Departamento: te ee

i restricted pending a hearing for this misbehavior report, you may write to the Deputy Superintendent for Security or his/her designee prior tothe hearing t

.@ Statement on the need for continued prehearing confinement. + Si estA restringide pendiente a una audiencia por este informe de mal compartamiento,
escribirle al Diputado del Superintendente para Seguridad o su representante antes de fa audiencia Para que haga una declaracién acerca de la necesh
continuar bajo confinamiento, previo a la audlencia. :

Distribution: WHITE - Disciplinary Office CANARY - Inmate (After ravisw) ¢ Distribucion: BLANCA - Oficina Discipiiarig AMARILLA - Recluso (después de ta resi

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, oe FORM3 31054 ac » a STATE OF NEW-YORK- DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
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PAGE 2. STATE OF NEW YORK . PRINTED AT
DEPT OF CORRECTIONS AND COMMUNITY SUPERVISION - 01/13/21 09:48 AM
* . UNUSUAL INCIDENT REPORT .

WENDE | | +FAC CODE 430 FAC Loc# 200200 —ccc@ 292848
‘ , "CB Lose 200088
INCIDENT DATE 1223/20 TIME 01:25 PM LOCATION CELL "9D. 246, 118
USE OF FORCE Wo. WEAPON USED NO WORKPLACE VIOLENCE NO
HHH HHH SIE SE IE AE HE IE IH HE EE EE RRA ELE EE
: : a (CONTINUED?
DESCRIBED AS BEING METAL MEASURING 6 1/4" X 1” SHARPENED AT ONE END WITH A
WHITE CLOTH AND TAPE HANDLE. AS A RESULT OF THE FIGHT, INMATE MONTOUR WAS

EXAMINED BY MEDICAL STAFF INDICATING NO INJURIES. INMATE JUDE WAS EXAMINED
BY MEDICAL STAFF WHO NOTED; A SMALL 2.5” RED SWOLLEN AREA ON THE BACK OF <
ete

JUDE'S INJURIES WERE CONSISTENT WITH FIGHTING. JUDE WAS TAKEN TO ERIE
COUNTY MEDICAL, CENTER FOR FURTHER EXAMINATION VIA STATE VAN.

INMATE MONTOUR WAS PLACED ON KEEPLOCK .

UPON RETURN FROM ERIE COUNTY MEDICAL CENTER INMATE’ JUDE WILL BE PLACED IN
SHU. THE WEAPONS WERE PHOTOGRAPHED AND SECURED IN ACCORDANCE WITH
DIRECTIVE 46910A.. ACTING DSS, CAPT. HODGES WAS NOTIFIED.

>S HIS HEAD AND A 1.5" LACERATION ABOVE HIS LEFT EYE. SGT. BARLOW DETERMINED

Wee ore WM OE SEI ETE

EPORT:
INMATE MONTOUR NO INJURIES NOTED.
INMATE JUDE HAD A SHALL 2.5" RED SWOLLEN AREA GN BACK OF HIS
HEAD AND 1.5" LACERATION ABOVE HIS LEFT EYE DUE TO THE FIGHT.

LL. PRISHEL ZNURSE 12/23720 02:80 PM
EXAMINER NAME/TITLE EXAM DATE/TIME

EDEN 96H 9 EI BEBE BBE A J IEEE EE HIE HEE SE IEE IEE ICE HE HOE EE

PROPERTY DAMAGE:

‘NONE

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PAGE 1 STATE OF NEW YORK PRINTED AT
DEPT OF CORRECTIONS AND COMMUNITY SUPERVISION 01/13/21 09:48 AM
UNUSUAL -INCIDENT REPORT . .

WENDE. ” , FAC CODE 430 FAC Loc# 2092u0 CCC# 292848
. CB LOG# 200088
INCIDENT DATE ~ 12/23/20 ‘TIME 01:25 PM LOCATION - CELL 0D 21s ~

‘TELEPHONE DATE 12/25/20 TIME 05:29° PH

PERSON CALLING LT  * ROBERTS’ .
PERSON RECEIVING - CAPT @3EMIBMDEL Har
REPORT DATE 12/30/20 = PERSON REPORTING LT J. EBERHARDT

USE OF FORCE No ‘WEAPON USED NO WORKPLACE VIOLENCE NO
DEBE IO BEBE BSCUBI GEIR E EHEC GE HER ASERIBE A IO OEE 338 IU IERIE REE EEE

CONTRABAND . C3) 21 CONTRABAND (03) 13
WEAPON - TOOTHBRUSH , WEAPON - SHANK

SURREAL REET GER

DESCRIPTION: |

ORR 85 ICI IE SE SCIEN IRN ER RR EER KE

EVENTS CAUSING:

DURING A CELL FRISK, OFFICER RECOVERED TWO WEAPONS.

iehshabehielthitisleisihiebbie DDL LLL TELE LITT LI Tee TTT ete TTT Tee Tee Te PET OT Terres

ACTION TAKEN:

OFFICER KOSTYSZYN CONTINUED THE CELL FRISK AND UNDERNEATH THE MATTRESS HE
RECOVERED A METAL SHANK TYPE WEAPON. THE CELL FRISK WAS COMPLETED, WITH NO
OTHER CONTRABAND RECOVERED. NO CONTRABAND WAS RECOVERED FROM INMATE
MONTOUR'S CELL. THE TOOTHBRUSH -TYPE WEAPON WAS TESCRIBED AS BEING 4 1/2" X
1/2" MADE OF PLASTIC SHARPENED AT ONE END. THE SHANK TYPE WEAPON WAS
Case 1:21-cv-00654-LJV-LGF Document 1 Filed 05/19/21 Page 56 of 75.. ...--

york | Corrections and —
prATe | Community Supervision

 

ANDREW Wi. CUOMO - ‘ANTHONY J. ANNUGGI
Govemor: , Acting Commissioner .
MEMORANDUM. _-
..To: -" Lieutenant T. Roberts

. From: Sergeant K. Barlow
Subject: Uk? 20-0200 Weapons
Date: 12/23/20

 

On the above date at approximately 1;25pm Officer S. Kostyszyn was searching inmate D-24-11 .
Jude 17A0890 cell following a fight that took place on the company. He discovered.a green

 

tooifibrush sharpened to a point approximately'4.5 inches in length and .5 inches wide. This was

discovered in a locker. The search continued.and a 6.25 inches by 1 incti metal shank with a whik

cloth wrapped handle formed to a point was discovered under his maitress. No additional
contraband was discovered. Misbehavior Report was written by Officer Kostyszyn. The inmate is
at this time at outside hospital ECMC. ; ;

- The weapons were confiscated and photographed and placed in the secure evidence drop box pec

directive 4910A.

Respectfully Submitted,

K bake)

Sergeant K. Barlow
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FIGHT INVESTIGATION FORM
TO WATCH COMMANDER DATE: 12/23/20
FROM: Sergeant K. Barlow
1. _(a@Jude_17A0890 D-24-11 Aggressor: Yes [X] No[_] Unk. []
Inmate Name & Number Cell Location Race: WHL] BLX] HS[]
(b)Montour 12A3697 D-24-16 Aggressor: Yes{_] No[X] Unk []
Inmate Name & Number Cell Location Race: WHL] BLX] HS[]
2. Location of Incident: 24 Company Date: December Time: 1:10pm
23, 2020
3. Was forced used? Yes [[] No
4. Has medical attention been given to inmate: (a) Yes JX] No [_] Refused LC]
(a) Yes X] No[[] Refused [1]
5. Describe any injuries (a) 1.5 in Jong laceration over left eye, red spots on back of head
(b) No injuries
6. Wasaweaponinvolved (a) Yes[_] No [XJ Description
(b) Yes Cl No &] Description

7. Have pictures of the weapon(s) been taken? Yes |_| No [XJ ; ce Catan tate vcae tite anu anuee none

8. Where is the weapon(s) now? (ayN/A (b)N/A

9. Does inmate(s) want protection? (a) Yes [] No (b) Yes [] No

‘ 10. Does inmate(s) want to press charges? (a) Yes [X] No[] (b) Yes] No &&

11. Inmate(s) explanation(s): _Inmate Jude states that he was attacked on the company while returning to his
cell after using the telephone. Inmate Montour states that he was out on the company performing his
porter duties and had to defend himself against an attack from inmate Jude. Neither inmate would reveal
what the underlying cause of the altercation was.

12. Sergeant’s assessment (conclusion): _ Officer S. Kostyszyn observed inmate Jude strike inmate Montour

with a closed fist punch on his way back to his cell on 24 company. He then further observed inmate
Montour proceed to defend himself and strike back with closed fist punches. Officer Kostyszyn gave a
direct order to stop fighting and the inmates complied. Inmate Jude was bleeding from a cut above his
left eye. He was taken to the RMU for medical evaluation. Inmate Montour did not appear to have any
injuries. He was held in the block and medical personnel evaluated him on 24 company with no injuries
noted. When interviewed neither inmate gave a reason for the altercation. Both inmates cells were
frisked. The frisk of inmate Montout's cell did not yield any contraband. During the search of inmate
Jude's cell two shanks were found. See Ul# 20-0200._Both inmates were confined pending disciplinary

action.
* To be attached to Misbehavior Report (s) A Labo

and or Unusual Incident Report(s) Sergeant
Case 1:21-cv-00654-LJV-LGF Document1 Filed 05/19/21 Page 58 of 75

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Prisoners’ Legal Services of New York
237 Main Street, Suite 1535
Buffalo, New York 14203
LEGAL Mar Tel.: (716) 854-1007 .
CONF'DENTIAL yo FAX: (716) 854-1008
Karen Murtagh-Monks Maria E. Pagano
Executive Director Managing Attorney

November 1, 2010

Brian Fischer, Commissioner

NYS — Department of Correctional Services
1220 Washington Avenue

Building 2, State Campus

Albany, NY 12226-2050

RE: UNIT WIDE ALLEGATIONS OF TITLE H (Subtitle A) ADA VIOLATIONS AND
ASSAULTS AND THREATS BY STAFF AT. THE WENDE CORRECTIONAL
FACILITY SENSORIALLY DISABLED PROGRAM

 

Dear Mr. Fischer:

We are writing this letter on behalf of the inmates housed in the Sensorially Disabled
- Program (SDP) at Wende Correctional Facility (C.F.}, many of whom have been housed
previously at SDP’s at Eastern and Sullivan C.F.s. We have received complaints from and have
interviewed a number of inmates regarding (t) lack of reasonable accommodations under the
Americans with Disabilities Act (ADA), (2) problems with mobility escorts (3) violations of

’ inmates’ privacy rights and (4) serious allegations of assaults, including sexual, and other _

 

misconduct by corrections officers. This letter will detail some of the remarkably consistent:

 

 

allegations received by our office and also provide recommendations regarding addressing.

correcting any violations.
We thank you in advance for your prompt attention to this serious matter.

REASONABLE ACCOMMODATIONS UNDER THE ADA, DIRECTIVE 2612 AND 2614, AND WENDE
C.F. POLICY AND PROCEDURE FOR THE SENSORIALLY DISABLED INMATES
PROGRAMS/SERVICES .
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Title I] of the Americans with Disabilities Act (ADA) mandates that State and local
entities are prohibited from discriminating against persons with disabilities and must make
“reasonable accommodations” for such disabilities. State and local entities are required to
provide disabled inmates with reasonable accommodations to allow these inmates to participate
it the programs, activities, and services offered by the facility. In the prison context, the ADA
requires that disabled inmates be provided the same opportunities as non-disabled inmates in

accessing to programs, activities and services.

DOCS Directives 2612 and 2614 and Wende C.F.’s local directives were issued to
effectuate Title II (Subtitle A) of the ADA.

Shower Fixtures

 

Inmates have complained about the lack of rails in the showers. The lack of these fixtures
prevents blind/visually impaired inmates from accessing shower services in a manner equal with
non-disabled inmates and presents a health and safety hazard. As DOCS Directive 2612 States,
“. .. the programs and services provided to inmates . . . must ensure accessibility and usability by
qualified inmates in the most integrated setting.” The primary concem here is usability. Non-
disabled inmates are provided full use of showers and incur no burden in using them.
Conversely, blind/visually impaired inmates’ use of showers is substantially compromised
because they are forced to negotiate the slippery and hazardous shower surface without any
fixture to support themselves, The lack of rails poses a serious safety risk to blind/visually

. impaired inmates because they are more likely to fall and be injured in the shower. Directive

2612 mandates the installation of such fixtures because DOCS must make existing facilities
readily accessible to meet a particular individual’s needs. The lack of shower rails is a violation
of the ADA and DOCS’ policy. Accordingly, we request that shower rails be installed to make
showers readily accessible for blind inmates as required by the ADA.

Additionally, we have received complaints that mobility escorts are allowed seven

showers per week while blind inmates are allowed only two to three per week. If this is correct,

then either the blind/visually impaired inmates are being denied equal access or the mobility

escorts are receiving preferential treatment. In either case, the treatment is disparate.
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Access to the Resource Room

 

SDP inmates report lack of access to the resource room. Access to the resource room is
essential for SDP inmates because it contains equipment including computer audio systems and

Braille writing equipment which allow them to read and compose their mail, including legal

' documents, and write grievances and other documents. Without access to this room, many

inmates on the SDP are effectively barred from reading their mai] and corresponding with their
loved ones and legal representatives.

The official policy regarding the operational hours of the resource room is unclear,
Wende CF. Directive 4017 states that the resource room will be operational Monday through
Friday from 9 A.M. to 11 A.M. and I P.M. to 3 P.M. However, in response to an inmate
grievance, the Superintendent stated that, “No inmates are permitted to enter the resource room
after 10 A.M, in the morning or after 2 P.M, in the afternoon.” ( Exhibit A). On this schedule,
access to the resource room would be restricted to the following times: 9 A.M. to 10.A.M. and I
P.M. to 2 P.M. This restriction is not contained in Directive 4017 and such a restriction is a direct
contravention of the operational hours established by the Directive.

Moreover, Wende Directive 4017 is irreconcilable with DOCS directive 2612. DOCS
directive 2612 explicitly states that (1) sound amplification and assistive listening devices and
(2) Braille equipment/print will be made available as needed, Based on our understanding, the
above devices are available only in the resource room, which is purported 1o be accessible for
only 20 hours per week, Providing these devices for only 20 hours a week, or 10 hours per week
as is noted in the Superintendent's grievance response, cannot be construed as providing access

on an as needed basis. Such minimal hours of operation do not provide any meaningful access to

 

the resource room and violate the ADA as well as DOCS directive 2612,

DOCS directive 2612 states that facilities shall make available to deaf and hard of
hearing inmates the auxiliary aids, services, and assistive devices as approved through the
reasonable accommodation process which are necessary to facilitate full and effective:
participation in prison programs, activities, and services, Non-disabled inmates are able to read
their mail and write letters at nearly any time of day.
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Such restrictive access to the resource room for SDP inmates is inadequate and a direct
violation of the ADA. In order to comply with the ADA, the hours of the resource room should
be expanded to provide meaningful access for disabled inmates which would include on an as

’ needed basis.

Additionally, we have been notified that there is no SARA or V-Text in the resource
room which is required in order to provide reasonable accommodations to the blind/visually

impaired.
Access to Food

A number of blind/visually impaired inmates have notified us that they are not permitted
to go to the messhall to eat with the general population and that they are forced to eat alone in
their cells where there food is brought to them in small trays, smashed all together and cold.
They report receiving less food than inmates in general population. The ADA requires that a
blind/visually impaired inmate be provided with mobility aid so that they can have access to the
messhall.

Inmate Mobility Assistants

We have received complaints from SDP inmates that many of the inmate mobility
assistants (1) are known gang members, specifically, Bloods, (2) steal from blind/visually
impaired inmates, (3) extort and intimidate SDP inmates, and (4) are not properly trained to

escort blind mmates. 4

Wende Directive 4017 deals, in part, with the responsibilities, training, and qualifications
for inmate mobility assistants. According to this Directive, the primary function of a mobility
assistant is to escort and assist the blind/visually impaired throughout the facility, In order to
qualify as a mobility escort for blind/visually impaired inmates, the escort must (1) have a high
school diploma or GED or currently be working toward one, (2) have a criminal history free of
predatory offenses, and (3) have a satisfactory disciplinary record since his incarceration.
Inmates who are known gang members are not categorically prohibited from becoming mobility
assistants. Pennitting known gang members to function as inmate mobility assistants poses a

serious threat to some of the most vulnerable state prison inmates as these inmates need to trust

 
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and rely on the mobility assistant. It also poses a threat to the general safety and security of the
facility. We request that all mobility assistants be investigated for possible gang membership

and that any identified gang members be removed from the SDP program, We also request that
Directive 4017 be amended to categorically preclude known gang members from functioning as

inmate mobility assistants.

Directive 4017 also addresses the training that is provided to inmate mobility assistants
for the blind/visually impaired. Pursuant to this directive, mobility assistants are trained by a
staff instructor in the following areas: (1) mobility assistant techniques, (2) emotional well-being
of blind inmates, (3) use of landmarks and cues, (4) obstacles, (5) doorways, and (6) stairs.
However, the directive fails to specify the length of the training provided and whether the
trainees are required to pass any minimum test of competency before functioning as a mobility

assistant,

Mobility assistants provide an essential service to blind/visually-impaired inmates who_
rely on these escorts for many basic functions such as attending assigned programs, medical and
mental health appointments, and recreation programs, Blind/visually impaired inmuaies alsu
require escorts to fulfill custodial needs including access to commissary and the package room.
Given the importance of the mobility escort role and the dependence of blind/visually impaired
inmates on this role, we request that any inmate who applies or is appointed to be a mobility
assistant be required to demonstrate a minimum level of competency in aiding blind/visually
impaired inmates before being permitted to be a mobility escort. While mobility assistants are
required to undergo training, this does not guarantee competency. An inadequately mobility
assistant could pose a serious safety risk to blind inmates, especially in cases where the escort

must navigate a blind inmate around obstacles or down stairwells, -

Recreation, Television and Closed Captioning/Headphones

SDP inmates report that there is no separate recreation area for them and their access to
recreational activities is severely limited. They report that recreation leaders are not trained in
recreational activities for the sensorially disabled and that there is no closed caption television or
headphones available to them. SDP inmates should be provided with the same access to

recreational activities as non-sensorially disabled inmates.

 

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Canes

We have received reports that blind/visually impaired inmates are being forced 10 use
canes without a medical determination that they need to use one, We have also received reports
that inmates are forced to use a cane when the cane actually compromises their ability to
function. They report that they cannot go to recreation since they are not allowed to leave their
canes unattended. When they go to and from commissary and the package room they cannot use
a cane and carry their belongings at the same time. This problem is compounded because they
are forced to go to the package room when their mobility aid wants te go, and the mobility aid is

not available to assist them with carrying packages because he is carrying his own.

The requirement that all blind/visually impaired inmates use a cane violates the ADA
because the need for use of a-cane is a medical determination which only.a physician can make,
This is because only a physician can diagnose an individual’s unique sight impairment and need
for an assistive device and reasonable accommodation. A general policy that all blind/visually

impaired inmates are required to use a cane is discriminatory and violates the ADA.

Moreover, the mandatory cane policy is overinclusive and fails to adequately distinguish
between variable degrees of individual visual impairment. Such a policy is tantamount to .
requiring all inmates with mobility impairments to use wheelchairs without any assessment of
the particular individual’s ability to walk. Categorically grouping all visually impaired inmates
into the sub-group of inmates who require canes is discriminatory because it fails to consider the
individual needs and capabilities of particular inmates. Many visually impaired inmates do not

need canes and are actually hampered by cane use.

Additionally, mandatory cane use imposes a significant burden on the independence of
visually impaired inmates who do not require canes, Wende Directive 4017 stresses the
importance of allowing blind inmates the greatest degree of independence. In defining the role of
the Inmate Mobility Escort, the Directive states that the escort should “allow the blind/visually
impaired inmate to use the method of travel which affords him the most independence.” Given
that Wende C.F. has recognized the value in granting blind/visually impaired inmates the most
independence regarding their mode of travel, this policy should logically be applied to cane use

as cane use pertains to mode of travel. Canes should only be required for inmates who need
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them as determined by a physician. Inmates who are able to travel without canes should have

their independence respected,

Interpreter Services and other Reasonable Accommodations for the Deaf/Hard of Hearing

Deaif hard of hearing SDP inmates have notified us that they arc not receiving consistent
interpreting services as required by the ADA dnd the Clarkson settlement agreement, In
particular, we have been advised that they are not consistently receiving interpreter services
when they are interacting with medical, mental health or guidance staff. Additionally, inmates
are expected to read the lips of correctional officers which is not a reasonable accommodation as
lip reading is never adequate because of the quantity of information that is missed even by a

* person expertly trained in lip reading, Cue cards are being used by staff inconsistently and
deaf/hard of hearing inmates are expected to follow corrections officers” direct orders without
cue cards which have resulted in SDP inmates being issued misbehavior reports. The
inconsistent use of cue cards appears to be related to escalation in confrontations between staff
and inmates as well.

Deaf/Hard of Hearing SDP inmates have also reported that they have been denied access
to a CCTV in violation of the ADA.

Assaults by Staff and Retaliation for Filing Grievances and Complaints

SDP inmates report that they are Subject to discrimination by staff members, including
corrections officers and SPD staff. We have received numerous complaints ranging from
mocking and intimidation to physical and sexual assaults. Both deaf/hearing impaired and
blind/visually disabled SPD inmates notified us that they are retaliated against by corrections
officers when they file grievances based on ADA reasonable accommodations or because of
maltreatment by corrections officers.

SPD inmates have notified us that corrections officers grab SDP inmates’ genitals while
conducting frisks, particularly, but not exclusively, blind/vision impuired inmates. Such staff
conduct is a direct violation of DOCS Directive 4910 which requires personal searches to be
conducted in a manner that is not offensive to the dignity of the inmate being searched,
Moreover, Directive 4028A states that DOCS has a zero tolerance policy for sexual abuse and

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iterates that “every incident of staff sexual abuse of an inmate presents a threat to the security of
the facility and the department.”

The Prison Rape Elimination Act of 2003 (PREA) also addressed the issue of inmate
sexual abuse and found that “Most prison staff are not adequately trained or prepared to prevent,
report, or treat inmate sexual assaults.” While Directive 4028A establishes training procedures
for staff regarding the prevention, detection, response, and investigation of sexual abuse, these
procedures are entirely inadequate, Pursuant to DOCS Directive 4028A, staff are required to
receive this training upon hiring and then only once every three years. Given the high prevalence
of inmate sexual abuse, which is reported at an alarmingly high rate at Wende C.F. as discussed
below, we request that the training procedures be reconsidered to provide more frequent in-

service training for staff regarding i inmate sexual abuse,

Based on a report authored by the Correctional Association of New York in 2010, ™
reports of sexual abuse are significantly higher at Wende than at other correctional facilities in
New York. 70% of inmates at Wende who responded to the survey conducted by the
Correctional Association of New York reported experiencing at least one abusive pat frisk and
31% of respondents reported experiencing them frequently. Moreover, 91% of survey
respondents believe that Wende’s administration does very little or nothing to prevent staff abuse
of inmates. Inmates in the SDP, and in particular, blind/vision impaired inmates, are vulnerable
to this type of abuse by virtue of their physical impairment and are often targeted because of
their disabilities. This abuse not only violates the rights and personal dignity of inmates, but also
may pose a threat to institutional security. As such, in accord with the recommendation of the

Correctional Association of New York, we request that grievances and pat frisk procedures be

 

reviewed to assess the prevalence of sexual or abusive conduct by staff and to identify measures

to reduce this behavior,

In addition to sexual abuse, inmates on the SDP report being verbally harassed and
ridiculed by staff on the basis of their disabilities, Again, the report of the Correctional
Association of New York supports these claims, 78% of respondents indicated that verbal
harassment occurred frequently at Wende. It appears that verbal harassment of SDP inmates may
be related to a lack of staff training and an understanding of disability in general, Inmates on the
SDP reported that harassment often occurs as a result of communication barriers between SDP

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inmates and staff.’ It seems that at least some of the staff on the SDP are either not trained

sufficiently in how to work with disabled inmates or they lack the sensitivity and respect
necessary to work with such inmates, A lack of training in how to effectively communicate and
work with disabled inmates is problematic because it may lead to conflicts between corrections
staff and inmates as has been documented by inmates-in the SDP at Wende C.F, In many cases,
these communication problems can escalate into physical confrontations.

We have received complaints of corrections officers intentionally mocking particular
inmates because of their disabilities, This type of verbal abuse of inmates evinces a complete
lack of sensitivity to disabled individuals and is detrimental to staff inmate relations. In order to
improve the staff inmate relations on the SDP, these training and sensitivity issues must be
addressed immediately. As such, we request that staff on the SDP be required to undergo (1)

' sensitivity training related to dealing with disabled inmates and (2) training on how to effectively
communicate with disabled inmates. Deaf Adult Services of Western New York has offered to
train corrections staff on how to effectively work with deaf inmates. Further, we request that
grievances regarding verbal harassment of SDP inmates be investi gated to determine the

prevalence of such abuses,

Additionally, SPD inmates réport that they are retaliated against by corrections officers
for filing grievances, and that grievances are not being forwarded to the ADA Coordinator. They
report that they are threatened, intimidated and physically assaulted for filing grievances related
to mistreatment by corrections officers and for filing complaints regarding lack of reasonable

accommodations.

We have recently received disturbing reports from numerous individuals that a deaf/hard
of hearing SDP was brutally beaten by corrections officers at Wende C.F. We ask that you take -

swift action regarding these allegations to prevent further potential abuse of SDP inmates.

Violations of SDP Inmates’ Confidentiality

We have also received complaints fromm SDP inmates that confidentiality in the “Program
Eligibility” setting is being breached. Based on our understanding, in order to qualify for
particular programs, disabled inmates must participate in a “Program Eligibility” meeting with
the Program Committee, These meetings take place in the law library in the presence of other

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inmates who are able to hear conversations between the disabled inmates and the committee.
This revelation of disabled inmates’ medical information is highly problematic as such a practice
violates Constitutionally protected privacy rights and New York State Public Officers Law
§743)(c).

Public Officers Law§74(3)(c) states, in part, “No officer or employee of a state agency . .
should disclose confidential information acquired by him in the course of his official duties...”
The disclosure of private medical information regarding particular inmate disabilities to other
inmates in the law library violates this law. Such disclosures may place disabled inmates at
higher risk of attack and harassment depending on the nature of the disability that is disclosed to
other inmates. Moreover, medical information relating to disabilities is often highly sensitive,
personal information. Broadcasting such information to any other inmates within audible range
demonstrates a complete lack of regard for the Constitutionally protected privacy rights of
inmates recognized in Powell v. Schriver, 175 F.3d 107 (2d Cir. 1999).

Prison inmates do not shed alll fundamental protections of the Constitution at the prison

. gates. Hernandez v. Coughlin, 18 F.3d 133 (2d Cir. 1994). The right to maintain the
confidentiality of previously undisclosed medical information is among the rights retained by
prison inmates, Powell, 175 F.3d 107 (2d Cir. 1999). Moreover, any regulation that impinges on
inmates’ constitutional rights is valid only if it "is reasonably related to legitimate penological

interests.” Turner v. Safley, 482 U.S. 78 (1987). .

Here, the procedures surrounding the program eligibility meetings violate inmates’ : J
privacy rights regarding medical information. The program eligibility meeting is a precondition
to qualify for particular programs, Without attending this meeting, disabled inmates cannot
participate in particular programs, The setting in which this meeting takes place requites disabled
inmates to disclose medical inforination to not only the Program Committee, but also any other
inmates who are present in the library. Essentially, disabled inmates are compelted to disclose

private medical information to third parties in order to qualify for programming.

Additionally, there are no legitimate penological interests that justify such a procedure. In
fact, the current procedures may actually undermine institutional security. The disclosure of the

specific nature of disabled inmate’s condition to other inmates may.place certain disabled

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inmates at greater tisk of assault, harassment, or discrimination. Requiring confidentiality in this
setting not only protects the privacy rights of disabled inmates, but may also aid institutional

security.
Conclusion

In consideration of the very serious allegations discussed above, which include both
ADA violations and staff misconduct in the Wende C.F. SDP, we ask that your office initiate a
thorough review and investigation of the SDP at Wende CF, and that supervisory staff address
these alfegations in a timely manner. We request that all SDP staff, including the SDP Program
Supervisor, be evaluated to ensure that they have the certifications and training required in order
to both work with the sensorially disabled and to train others to do so. "We request that all
medical and mental health staff be evaluated to ensure that they have the required amount of
training to be able to property diagnose the medical and mental health conditions of the
sensorially disabled. Further, we also request supervisory staff ensure that no SPD inmates be
retaliated against for filing grievances, contacting PLS, or making complaints related to issues

contained in this letter or for any other issues not addressed in this letter.

Finally, we have received teports from numerous SDP inmates at Wende C.F, that their
experiences at Eastem C.F, and Sullivan C.F. SDP programs were positive, that staff at these
programs were respectful to the inmates, and that these programs were in compliance with the
ADA and DOCS own directives. These programs may be able to provide the Wende C.F. SDP
program with advice and assistance in order to come into compliance with the ADA and in order j

‘to ensure that all staff in the program are properly trained and staff assignments are appropriate. -”
We are available to work with any DOCS staff regarding addressing both SDP unit wide
complaints and individual SDP. inmate complaints related to ADA reasonable accommodations
and staff issues as they relate to discrimination and harassment. We are also available to assist in
identifying and scheduling trainings regarding working with the sensorially disabled.

We thank you in advance for your immediate attention to these very serious allegations
from SDP inmates. Kindly contact us at (716) 854-1007 ext. 28 if you have any questions or

concerns related to these matters.

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Law Intern .
Wace €E.. Prgad
Maria E. Pagano

Managing Attorney

ce: Anthony Annucci, Executive Deputy Commissioner & Counsel
Robert Kirkpatrick, Superintendent, Wende C.F,

Karen Crowley, Deputy Superintendent of Program Services, Wende C.F.

Bryan Bradt, SDP Program Supervisor

Lucy Buther, ADA Coordinator

Deborah Nazon, Acting Director, Office of Diversity Management
Richard Roy, Inspector General

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In the United States District Court
For the Western District of New York

 

X Request to Proceed

- KEVIN BROWN, et, al Plaintiff, : In Forma Pauperis
V. : Civil Action No.
STEVEN JUDE,
Defendants :
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PLEASE TAKE NOTICE, that upon the declaration of STEVENJ JUDE, sworn to on the
April 2, 2021, a motion will be made at a term of this court, for an order permitting income’
and property to enable him to pay the cost, fees, and expenses to pursue said action, and for

‘such other and further relief as this Court may deem just and proper.

Signed this 2, day of 2021-04-01

 

 

Steven Jude# 17-A-0890

To:

Clerk

United States District Court
For the Western

 
 
 
 

Royo Wende Rd
? 0 Box tg7 #) CV 654
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JS 44 (Rev. 08/18) Case 1:21-Cv-00654-LJjhqingahy COVER SHERY 05/19/21 Page 73 of 75

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, i
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) nl 8 required for the use of the

I. (a) PLAINTIFFS

SHevers ude

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S, PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Peo Se

lerk of Court for the

DEFENDANTS

Kevin Bea. of al

County of Residence of First Listed Defendant
(IN U.S, PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Attorneys (If Known) g 1 C V 6 5 &

 

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ili. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O01 US. Government 13. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O 1. © 1 Incorporated or Principal Place go4 04
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Defendant « (Indicate Citizenship of Parties in Item II] of Business In Another State
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IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
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G 140 Negotiable Instrument Liability 1 367 Health Care/ G 400 State Reapportionment
6 150 Recovery of Overpayment [0 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS} 410 Antitrust
& Enforcement of Judgment Slander Personal Injury G #820 Copyrights O 430 Banks and Banking
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0 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 0 899 Administrative Procedure
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6 290 All Other Real Property 0 445 Amer. w/Disabilities -] 535 Death Penalty 1 PR e Agency Decision
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VI. CAUSE OF ACTION Brief description of cause:
VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes No
VII. RELATED CASE(S) See
IF ANY (See instructions): JUDGE poc BER
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FOR OFFICE USE ONLY ¢
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Case 1:21-cv-00654-LJV-LGF Document1 Filed 05/19/21 Page 74 of 75

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